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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

2:56
BERTA MORALES, "
Plaintiff
DOCKET NO. 17-CV-7414 (JMF)
OPPOSITION TO DEFENDANTS’
-against- MOTION TO DISMISS es cement ate

 

 

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NEW YORK CITY DEPARTMENT OF EDUCATION,

Defendants

 

 

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PLAINTIFF BERTA MORALES, (“Plaintiff”) proceeding Pro Se, as and for her Summons and
Complaint filed to protect her Constitutional rights against the above-captioned Defendants,
alleges upon knowledge as to her own facts and upon information and belief as to all other
matters:

STATEMENT OF RELEVANT FACTS
Plaintiff ‘s first employment was tutoring her peers, high school students in 1990-1991. She
was recommended to this program because of her excellent academic performance. She obtained
her high school diploma in 1993 and was admitted into Fordham University. Four years later,
she obtained her bachelor’s degree. She decided to enter the education system and started to take
the steps necessary in order to do so. The next two years she took state tests and substituted in
public school. In November of 2000 Plaintiff accepted a position as a bilingual special education
teacher at P.S 2. Two years later she was transferred to P.S. 70, where she remained until April

2015.
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While in her teaching position, Plaintiff did her job, and did it with care, kindness, and
excellence. Plaintiff obtained her master's degree in special education from Mercy College in
2004. Shortly after that, she obtained her permanent certification in special education with a
bilingual extension in Spanish. Parents loved her, because a large percentage of the students

spoke Spanish, many exclusively.

Plaintiff did, however, bring up the facts showing that the school was not fulfilling their duty of
care to the special needs children who were Plaintiff's students. Both resources and services
were not being provided by the NYC Department of Education, and this was Noticed to the
Department in December 2015 from former U.S. Attorney Preet Bharara to NYC DOE General
Counsel Courtenaye Jackson Chase. (See EXHIBIT 1). Plaintiff's speaking out left her a target

for retaliation, and this is the motive behind her being charged.

On September 12, 2013, Plaintiff was served with several specifications citing her for

incompetency and insubordination (Charging Papers, EXHIBIT 2).

Soon after receiving these charges and noticing that there was no date for the Executive Session
listed on the papers, Plaintiff submitted to Arbitrator Donald T. Kinsella, Esq., as part of her
argument that the hearing could not proceed, as without a vote by the Panel For Educational
Policy (PEP) in an Executive Session on Probable Cause, there was no subject matter

jurisdiction for Arbitrator Kinsella to proceed with the hearing. (PEP Bylaws, EXHIBIT 3)

The Plaintiff's Motion To Dismiss For Lack of Subject Matter Jurisdiction, submitted before the

pre-hearing to Arbitrator Kinsella, included the BYLAWS of the PEP.

Plaintiff, in her AFFIDAVIT, did not waive her rights to have Education Law 3020-a(2)(a)

complied with:
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“BERTA MORALES, being of full age and duly sworn, deposes and says:
1. My name is Berta Morales and I live at 143 East Main Street, Bergenfield, N.J. 07621.

2. | am a tenured teacher in good standing who has worked in the New York City public school
system for more than twelve years.

3. On or about September 12, 2013 I received charges of alleged "unprofessional conduct" while
a teacher at 09X070 - P.S. 70 during the 2010-2011, 2011-2012 and 2012-2013 school year(s).

4. The title of the documents attached to the charges is: "Notice of Determination of Probable
Cause On Education Law §3020-a Charges" and proceeds to give the following information:

"Please be advised that at a meeting in executive session on the above date the school district
identified herein has found that there is probable cause for Education Law §3020-a charge(s)
against you. The specific charges are attached to this form. Within ten (10) days of receipt of
these charges, you must elect to request a hearing before an impartial hearing officer, or waive
your right to such a hearing."

5. Lhereby give notice that I have filed for a hearing, however by agreeing to a hearing pursuant
to §3020-a before a Hearing Officer I do not waive my legal rights to:

(1) submit to a Hearing which complies with due process for tenured teachers as stated in New
York State Education Law §3020 and §3020-a;

(2) object to the process and substance of the manner in which probable cause was allegedly
found, as stated in the paragraph titled "NOTICE TO TENURED EMPLOYEE" below which,
upon information and belief, has misleading information about a "school district" "identifying"
that there is "probable cause for Education Law §3020-a charge(s) against [me]".

6. Any Executive Session of a school board must be publicly noticed and must take place within
a public meeting (Open meetings law Section 105) also noticed to the general public. Section
3020-a(2)(a) specifically refers to an "employing board" meaning a Board of Education, which
does not currently exist in any school district within New York City; and this section of law also
requires that a vote of the Board of Education is held, and a "majority" must vote in favor of
probable cause:

"Disposition of charges. Upon receipt of the charges, the clerk or secretary of the school district
or employing board shall immediately notify said board thereof. Within five days after receipt of
charges, the employing board, in executive session, shall determine, by a vote of a majority of all
the members of such board, whether probable cause exists to bring a disciplinary proceeding
against an employee pursuant to this section. If such determination is affirmative, a written
statement specifying the charges in detail, the maximum penalty which will be imposed by the
board if the employee does not request a hearing or that will be sought by the board if the
employee is found guilty of the charges after a hearing and outlining the employee’s rights under
this section, shall be immediately forwarded to the accused employee by certified or registered
mail, return receipt requested or by personal delivery to the employee.”
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7. As there is no Board of Education in New York City at this time, and no "vote" with the
mandated specificity as to where, when, by whom and on what information did the mandated
vote take place, as well as no mention of the authority of a "school district" to identify probable
cause, this paragraph in the Education Law Charge Transmittal Form must be declared null and
void pursuant to Education Law Section 3020-a(2)(a).

8. The Department has not complied with the requisite jurisdictional predicates for filing
disciplinary charges against Respondent and, as such, the Arbitration proposed is without subject
matter jurisdiction to proceed.

9. The procedures memorialized in the documents attached have no basis in
law or in fact, and the Hearing Officer thus has no jurisdiction to hear the charges attached

herein.”

On March 6, 2014, Arbitrator Kinsella denied Plaintiffs Motion To Dismiss, yet in the transcript
of that hearing day, he would not permit Plaintiff's Attorney Debra Wabnik to speak about how
even if the Chancellor COULD delegate the finding of probable cause, which Attorney Wabnik
argued was not allowed by law under Education Law 3020-a(2)(a), there still should have been

an Executive Session held by the Chancellor or the designee, to determine probable cause:

MS. WABNIK: Well, it's not even a question

15 of having any authority to rule. You shouldn't be going
16 forward in this particular case. We shouldn't even be

17 here. I mean, this whole explanation that we had about
18 how everybody delegates to everybody else, it doesn't
19 explain why, in the notice of determination, it says that
20 a meeting was held in executive session on the above date
21 and the school district identified found that there was
22 probable cause. Nobody said this form had to be used.
23 The date of executive session is blank. If you want to
24 say the principal decided, on his or her own, that these
25 charges were going to be preferred against you pursuant to
such and such a statute, then put it in here. Put it in

3 the notice because this notice is completely ineffective.
4 It's not true. This didn't happen. So, to have us here,

5 based on notice of something that didn't even happen, is
6 inherently improper

THE HEARING OFFICER: [Interposing| The

3 Chancellor's delegated the duties. It's a 3020-a

4 proceeding. There is no -- . Everybody knows that. And
5 he's delegated the duties and the charges have been filed.
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6 MS. WABNIK: The Chancellor didn't have the

7 authority to delegate the right to vote.

8 THE HEARING OFFICER: The Chancellor--

9 MS. WABNIK: [Interposing] He can't give

10 what he doesn't have.

11 THE HEARING OFFICER: The Chancellor has the

12 authority to act as the Board.

13 MS. WABNIK: Well then, the Chancellor--

14 THE HEARING OFFICER: It says.

15 MS. WABNIK: --should have had an executive

16 session, which had to be part of an open meeting.

17 THE HEARING OFFICER: Well, I assume that,

18 first of all, it wasn't the Chancellor, since obviously he
19 delegated it--

20 MS. WABNIK: [Interposing] Okay. Then the

21 principal--

22 THE HEARING OFFICER: --but whoever the

23 person is--

24 MS. WABNIK: --whoever the principal was--

25 THE HEARING OFFICER: --may well—

MS. WABNIK: --but this--

3 THE HEARING OFFICER: --have had an

4 executive meeting in their mind when they decided to bring
5 the charges.

6 MS. WABNIK: Well, that doesn't comply with-

7 -

8 THE HEARING OFFICER: But it's--

9 MS. WABNIK: --3020.

10 THE HEARING OFFICER: --it's clear that

11 Section 2590-h of the Education Law contemplates that
12 charges of this nature in the City of New York are going
13 to be brought by a determination of the Chancellor or his
14 or her delegate. And that's what has occurred. So, your
15 motion is denied. And we can, on that basis, the case law
16 is interesting, but the statute is pretty specific. So,

17 let's proceed with the preliminary conference.”

(transcript, 3-6-14, pp. 15-18, EXHIBIT 4)

Why did Arbitrator Kinsella not want to hear the argument for granting the Motion by Attorney
Wabnik? Because the NYC Department of Education (NYC DOE) does not want any arbitrator
on either 3020-a Panel — there are two, the Administrative Trials Unit or “ATU” and the Teacher
Performance Unit or “TPU” — to grant the Motion To Dismiss. Arbitrators in NYC are chosen to

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work on the panels for a year, and receive $1400/day, plus expenses. This is a very lucrative
position. The arbitrators are given cases by the Department, so they all try very hard to please the
Directors of the ATU and the TPU by making decisions that they — the NYC DOE - are happy
with. Arbitrators cannot go against the NYC DOE even if the law, NYC DOE rules and

regulations, and/or United Federation of Teachers’ Contract (“CBA”) are ignored.

This has been shown in the 3020-a case charged against teacher Alan Herz in December 2016.
The investigators did not conduct the investigation properly, and Arbitrator Phillip Maier
dismissed the charges at the pre-hearing. This was shocking to the Department, so they sued both
Alan Herz and Arbitrator Maier in Supreme Court. ( Index No. 100225-2017, EXHIBIT 5). The
handwriting on the Petition belongs to Alan Herz, from whom these papers were obtained).
Arbitrator Maier decided the right thing to do was to disregard the “silent” rule of the NYC DOE
never to dismiss a hearing on procedural issues, and the City Law Department stepped in to
overturn Arbitrator Maier’s ruling, and pursue the charges against Mr. Herz. An Arbitrator in

3020-a hearings has never before been sued by the City for making a decision in a pre-hearing.

Additionally, the former Chancellor, Carmen Farina, spoke at a meeting on February 24, 2015
for all the Arbitrators and public Attorneys both for the NYC DOE and NYSUT who work on
3020-a arbitration hearings, and summarized how the 3020-a hearings should go. She advised all
attendees that speed, not the Respondents’ rights, were to be placed first. She told the
participants that everyone should be mindful of limiting witnesses and getting the hearing done.

See the video and read the transcript of Carmen Farina’s speech here:

The 3020-a Arbitration Newswire: At 3020-a The DOE and UFT Demand Speed, Not Due
Process Rights
https://advocatz.com/2018/06/10/3020-arbitration-newswire-3020-doe-uft-demand-speed-not-
due-process-rights/
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In fact, Mayor Michael Bloomberg had this in mind when he set up mayoral control in NYC and
changed the NYC Board of Education with elected members to the Panel For Educational Policy,
with appointed members. And he appointed the majority of the members so that in the end, he
had control. His motive was to end tenure and stop the tenure rights for educators charged with
anything. Everyone was automatically guilty, and must be terminated. Bloomberg had no time
for a vote and for a procedure that left an open door to a group which may do something he did
not want. As a result, the PEP has routinely violated many laws. One example is the Executive
Session. If they needed to terminate a charged educator because this person did not request a
hearing, then they scheduled an Executive Session to begin before the public meeting begins.

(See Agenda, 2013 PEP, EXHIBIT 6).

A vote AFTER the public meeting starts is the requirement, as stated in Section 105 of New
York State Open Meetings Law (available on the webpage of the NYS Committee on Open

Government:

§105. Conduct of executive sessions.

1. Upon a majority vote of its total membership, taken in an open meeting pursuant to a motion
identifying the general area or areas of the subject or subjects to be considered, a public body
may conduct an executive session for the below enumerated purposes only, provided, however,
that no action by formal vote shall be taken to appropriate public moneys:

a. matters which will imperil the public safety if disclosed;

b. any matter which may disclose the identity of a law enforcement agent or informer;

c. information relating to current or future investigation or prosecution of a criminal offense
which would imperil effective law enforcement if disclosed;

d. discussions regarding proposed, pending or current litigation;

e. collective negotiations pursuant to article fourteen of the civil service law;

f. the medical, financial, credit or employment history of a particular person or corporation, or
matters leading to the appointment, employment, promotion, demotion, discipline, suspension,
dismissal or removal of a particular person or corporation;

g. the preparation, grading or administration of examinations; and

h. the proposed acquisition, sale or lease of real property or the proposed acquisition of
securities, or sale or exchange of securities held by such public body, but only when publicity
would substantially affect the value thereof.
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2. Attendance at an executive session shall be permitted to any member of the public body and
any other persons authorized by the public body.

(https://www.dos.ny.gov/coog/openmeetlaw.html)

Despite members of the public asking why the PEP members were violating the law, the PEP
never has had an Executive Session after a public meeting starts.

PEP members also vote to close schools without meeting with the community and gathering

data. See here:

We won in court today to keep PS 25 open -- probably for at least
another year!
https://nycpublicschoolparents.blogspot.com/2018/05/normal-0-false-false-false-en-us-x-
none.html
The PEP voting on closing schools in the manner that they do at every PEP meeting is against
public policy but the PEP members do not comply with the rules or practice which a public
school board is supposed to do. And if a member does disobey and votes against the Mayor,
he/she is fired. This is no democracy, at least in areas which involve education.

So there is a pattern and practice of violating the laws, rules and regulations set up to guide and
authorize due process public policy in New York City. PEP members are supposed to vote
exactly as the Mayor and/or Chancellor wants, with or without any law to support the vote.
Outside of NYC there is always a vote on probable cause exactly as described in Education Law
3020-a(2)(a).

For the argument on the due process for Plaintiff, there is one more issue which has not yet been
decided: the Delegation memos. Reviewing the transcript on 3-6-14 in Ex. 6, the Court can see
that Attorney Wabnik was not permitted to make any argument on the validity of the delegation

memos. Arbitrator Kinsella stopped her from speaking and denied the Motion to Dismiss For

Lack of Subject Matter Jurisdiction. Then, Arbitrator Mary O’Connell took his denial and agreed
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with it and so did Judge Chan in the Supreme Court. No one has answered the many serious
questions of validity for those delegation memos.

First, the charging papers do not mention Education Law 2590. In arbitration cases where the
Respondent’s Representative does not bring up the fact that there is no date for the Executive
Session, no one bothers to bring up the fact that the Executive Session just is never held in NYC
for anyone charged with 3020-a. So in terms of Notice, no charged educator is given any Notice
that indeed, he/she has been charged pursuant to 3020-a AND 2590, and the Chancellor can give
anyone, by delegation, the right to pursue charges and determine probable cause against any
employee. The charged educator proceeds to a hearing accepting the lack of subject matter
jurisdiction because neither NYSUT or the DOE Attorneys want to argue that there are
procedural errors in the process.Outside of NYC, 3020-a charges are handled exactly the same
way that Ed Law 3020-a states, with the school board voting on probable cause for the charges.
Without the proper procedures under Ed Law 3020-a, no arbitrator should proceed to hearing.
The fact that Education Law 3020-a(2)(a) mandates a certain procedure, and the 3020-a
arbitration is held pursuant to tenure law 3020-a, then the violation of a vote means that proper
procedures were not followed, and the arbitrator does not have subject matter jurisdiction.
Second, the delegation memos do not solve this problem. In the delegation memos the
Chancellor may delegate the preferring of charges. There is no mention of determining probable
cause. “Preferring” charges is not the same as “determining probable cause in an Executive
Session”. Indeed, an Executive Session must be held while a public meeting is going on, and
each Session must have two or more members. So, if the Chancellor can delegate the

determination of probable cause, there still must be an Executive Session of two or more people
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in order to comply with the law. The Chancellor can call a meeting with a subordinate or more
than one an “Executive Session”. Problem solved.

Not so fast. The PEP Bylaws state clearly that the Chancellor cannot vote. Therefore, the
Chancellor cannot hold an Executive Session and vote on charges to serve on an employee,
because this would be outside of the Chancellor’s authority. But we cannot ignore this quandary.
The Chancellor cannot delegate the vote on probable cause to anyone, because this power and
authority was never given to him/her. What is also clear is the intent of the State legislature when
they wrote the Bylaws of the PEP: have a balance of power, do not allow the mayor and
Chancellor to make all the decisions. This is good public policy, but was not good for the Mayor
who wanted the 3020-a arbitration to be quick. Allowing a vote in an Executive Session takes
time which NYC does not have, according to Mayor Bloomberg. The conclusion is:

nowhere in Education Law §3020-a is there a provision authorizing a Principal (or any single
individual) to make a determination of probable cause. The Chancellor also has no authority to
determine probable cause, only to initiate the charging process without making any conclusions.
Moreover, because the Chancellor has no vote as a member of the Panel for Educational Policy,
he/she lacks the authority to grant any individual the authority to make a probable cause
determination. Even if the Chancellor was given the duties of the school board, this would still
mandate a vote in an Executive Session before any charges were served on Respondent.

Third, as a tenured teacher, Respondent possesses a constitutionally protected property interest in
her position of employment which may not be diminished in any manner without being accorded
substantive fair hearing and due process rights. Matter of Soucy v. Board of Education of North

Colonie Central School Dist No. 5, 41 A.D.2d 984, 343 N.Y.S.2d 624 (3rd Dep't 1973)). See also

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New York's Court of Appeals in Ricca v. Board of Ed. of the City Sch. Dist, 47 N.Y.2d 385, 418
N.Y.S.2d 345 (1979):

"The tenure system is not an arbitrary mechanism designed to allow a school board to readily
evade its mandate by the creation of technical obstacles . ... Rather it is a legislative expression
of a firm public policy determination that the interests of the public in the education of our youth
can best be served by a system designed to foster academic freedom in our schools and to protect
competent teachers from the abuses they might be subjected to if they could be dismissed at the
whim of their supervisors. In order to effectuate these convergent purposes, it is necessary to
construe the tenure system broadly in favor of the teacher, and to strictly police procedures

which might result in the corruption of that system by manipulation of the requirements for
tenure."

Here, the Defendant failed to mention that N.Y. Municipal Home Rule Section 11(1)(c) states as
follows:

“No local legislative body is empowered to enact laws or regulations which supersede state
statutes, particularly with regard to the maintenance, support, or administration of the
educational system.”

Thus the NYC DOE cannot replace Education Law 3020-a, State Law, with local law Education

Law 2590 which refers only to New York City’s education system.

In the Matter of Stephen Rosenblum, Respondent, v New York City Conflicts of Interest Board
et al., Appellants, 75 A.D.3d 426; 903 N.Y.S.2d 228; 2010 N.Y. App. Div. LEXIS 5749; 2010
NY Slip Op 5875, the First Department Appellate Division held that the New York State
Supreme Court ruling was correct, that “the exclusive avenue to discipline a tenured pedagogue
is Education Law § 3020-a” (see Education Law § 3020; 53 RCNY 2-02 [a]).

The Delegation memos allow the Chancellor to delegate to Superintendents the right to create
charges against employees, but not the right to determine probable cause.

The requirements of NYS Education Law §3020-a, under which tenured personnel may be

disciplined for "just cause" are absolute and require that before charges can be brought against a

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tenured educator, the school board’ [PEP] must:

e Determine that there is "probable cause" for the proceeding with charges by a majority vote

by the Board.
e Make this determination within 5 days of the charges being filed with the Board.
e Ensure that the decision to proceed with the charges is not frivolous, arbitrary, capricious
or discriminatory.

This vote by the school board is required under Education Law 3020-a for a proper
determination of "probable cause" upon which to bring charges against teachers removed from
their schools. (Education Law §3020-a, Article 61). A determination of probable cause by an
Independent Executive Session must, according to law, occur after charges are made against a
tenured employee in order to mitigate against malicious prosecution, retaliation, and/or sheer
vindictiveness (which is precisely what is transpiring here). The legislative intent is to provide
pedagogues protection from vindictive principals who may want to remove senior teachers from
their positions because they make salaries that could pay for two teachers instead of one, or other
unlawful reasons.
Education Law §3020-a requires a vote by the school board [PEP] as the basis for deciding to
charge a tenured employee by finding probable cause (Education Law §3020-a(2)(a)).
Fourth, in the case at bar, the Principal was allowed to charge the Plaintiff, sign the probable
cause determination, testify at the arbitration hearing, and run the entire show, from start to
finish. This is not good public policy. What if, as Plaintiff has argued here, the principal

maliciously made up the content of the observations in the charges, to remove the Plaintiff from

 

* In the City of New York, the Panel for Educational Policy (“PEP”) serves as the “school board”.

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the school so that she did not get more information about the students not being provided their
services?

The proof of incompetency is not in the observations, which are solely someone’s subjective
opinion, but in the outcomes of students. In this case the New York City department of
Education did not present any students or student outcomes, therefore Arbitrator O’Connell
decided to terminate Plaintiff without the data necessary to prove the specifications. She also did
not consider Just Cause or Progressive Discipline. Why? Because she never had subject matter
jurisdiction, and knew it, as well as that she would have not penalty on her arbitrator position on
the panel. This makes Arbitrator O’Connell’s decision to terminate Plaintiff invalid, arbitrary and
capricious.

Therein lies the problem presented here, and highlighted by the prior decisions as well as the
new decision submitted to this Court in the case of Rosalie Cardinale v the New York City
Department of Education. The question of subject matter jurisdiction and the validity of the
delegation memos were never answered in this case. There is no res judicata. There is still no

answer.

THERE ARE TRIABLE ISSUES OF MATERIAL FACT THAT PLAINTIFF SUFFERED
ADVERSE EMPLOYMENT ACTIONS
On March 29, 2018, Judge Desmond Green in the Richmond County Supreme Court
ruled that the procedural error of not having an Executive Session and vote on probable
cause in her case had to nullify the right of Arbitrator Lendino to make a decision in the
3020-a as he had no subject matter jurisdiction. This ruling established new caselaw on
the issue of the right of Respondents in New York City to have probable cause determined by a

vote in an Executive Session by the Panel For Educational Policy (Cardinale v The New York

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City Department of Education, Index No. 85165/2017). EXHIBIT 7

Judge Green upheld the argument that a lack of a proper determination of probable
cause violated Respondent Rosalie Cardinale’s due process rights as well as destroyed
the integrity of the tenure protections guaranteed by the Constitution.

Plaintiff was subject to adverse employment actions by having her position as a bilingual
special education teacher undermined by a principal who was worried that Plaintiff would
expose the lack of supplies and services for the schools neediest kids, and use the
procedures used in NYC to terminate any educator even if that educator was tenured, as in
this case.

At no point did the Department prove with any fact or data that Plaintiff had suddenly become a
permanently incompetent teacher. Instead of facts, data, and statistics, the 3020-a arbitrator and
the Judge in the Article 75 decision both decided that the opinion of the Principal was enough
“proof” of Plaintiff's incompetency to get her charged and removed from the school. There are
no facts or statistics in observations, only non-final opinions:

“lesson observation reports ....are not statistical or factual tabulations or data, instructions to
staff that affect the public, or final agency policy or determinations...... The reports are prepared
to assist the Chancellor, and are not binding..... The lesson observation reports consist solely of
advice, criticisms, evaluations, and recommendations prepared by the school assistant principal
regarding lesson preparation and classroom performance.”

See Elentuck v Green, Supreme Court of New York, Appellate Division, Second Department,
202 A.D.2d 425; 608 N.Y.S.2d 701; 1994 N.Y. App. Div. LEXIS 1956, (1994).

Plaintiffs performance reviews were driven by bad faith and malice. Proof of this claim is in the

observations, where absolutely nothing Plaintiff did was worthy of commendation. This makes

no sense.

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As demonstrated within, Plaintiff has met the standard of a prima facie claim of retaliation by an

arbitrator who had no subject matter jurisdiction to make any decision at her 3020-a hearing..

For these reasons, Defendants' motion to dismiss should be denied in its entirety.

ARGUMENT

In order to survive a motion to dismiss under Federal Rule 12(b)(6), "a complaint must contain
sufficient factual matter, accepted as true, to state a claim that is plausible on its face." Ashcroft
v. Iqbal, 556 U.S. 662, 678 (2009). As such, the plaintiff must allege facts that "raise a right of
relief above the speculative level on the assumption that all allegations in the complaint are true
(even if doubtful in fact)." Id. This does not, however, require heightened pleading standards.
Rather, the Second Circuit has interpreted that language to require a flexible plausibility
standard, "which obliges a pleader to amplify a claim with some factual allegations in those
contexts where such amplification is needed to render the claim plausible , rather than to
mandate a ‘universal standard of heightened fact pleading ." McNamara v. Kaye, 2008 WL
3836024, at *4 (E.D.N.Y. Aug. 13, 2008) (quoting Iqbal v. Hasty, 490 F.3d 143, 157-58 (2d Cir.
2007)). It is axiomatic that in deciding a motion to dismiss pursuant to Rule 12(b)(6), a court
must assume the veracity of well-pleaded factual allegations , and draw all reasonable inferences
in the Plaintiff's favor. Ruotolo v. City of New York, 514 F.3d 184, 188 (2d Cir.2008).

Further , it is well settled that in the employment context, "a plaintiff need not allege
specific facts establishing a prima facie case of discrimination to survive a motion to dismiss."
Thai _v. Cayre Group, Ltd., 726 F.Supp.2d 323 (S.D.N.Y . 2010); see also Bell Atlantic v.
Twombley_, 550 U.S. 544, 569-570 (2007) ("Heightened standard for Title VII cases was
contrary to the Federal Rules structure of liberal pleading requirements .") Rather, the complaint

need only "be facially plausible," and "give fair notice to the defendants of the basis for the

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claim." Barbosa v. Continuum Health Partners, Inc., 716 F.Supp.2d 210, 215 (S.D.N.Y. 2010)
(quoting Twombly, 550 U.S. at 569-70). See also McIntyre v . Longwood Central School Dist.,
2008 WL 850263, at *8 (E.D.N.Y. 2008). ("Therefore , the controlling standard for survival of a
motion to dismiss lies not in McDonnell Douglas , but in Rule 8(a) of the Federal Rules of Civil
Procedure, which requires a "short and plain statement of the claim showing that the pleader is

entitled to relief .") (citing Swierkiewicz v. Sorema N.A., 534 U.S. 506, 510 (2002)).

CONCLUSION

For the foregoing reasons, Plaintiff respectfully requests that this Court deny Defendants’ motion to

dismiss in its entirety. together with such other relief this Court deems just and proper.

bok Meryl

Berta Morales

Dated: June 11, 2018

 

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U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

86 Chambers Street
New York, New York 10007

December 21, 2015

By E-Mail and First Class Mail:
Courtenaye Jackson-Chase

General Counsel

New York City Department of Education
52 Chambers Street

New York, N.Y. 10007

Dear Ms. Jackson-Chase:

The passage of the historic Americans with Disabilities Act of 1990 (the “ADA”)
reflected a clear and comprehensive mandate to eliminate what had become pervasive
discrimination against individuals with disabilities. Physical barriers and public policies had
long prevented individuals with disabilities from accessing on an equal basis critically important
government services and programs. And nowhere is it more important to tear down the barriers
to equal access than with respect to the education of our children. But today, in New York City,
25 years after passage of the ADA, children with physical disabilities still do not have equal
access to this most fundamental of rights. Based on the City’s own statistics and
characterizations of its schools, 83% of public elementary schools are not “fully accessible” to
people with disabilities and six of the City’s school districts, serving over 50,000 elementary
school students, do not have a single school that is “fully accessible” to people with disabilities.
Moreover, children with disabilities are frequently denied the experience that many of their peers
take for granted: attending their local public schoo! with their friends and neighbors. Instead,
starting in kindergarten, these children are often forced unnecessarily to travel outside of their
neighborhoods to schools where there are no familiar faces. The result is that children with
disabilities and their families are being deprived of the countless meaningful and tangible
benefits of being part of their own local school communities, including full and easy
participation in after-school and extracurricular activities; attendance without hardship at parent-
teacher conferences; reasonable commutes that don’t unduly interfere with study, homework,
and family time; and natural bonds of friendship and community developed with neighborhood
children through playdates and school activities. The costs of this situation are acutely illustrated
when a parent so wants a child to go to school in the local zoned school that the parent is willing
to go to the child’s school several times a day to literally carry the child up and down stairs so
that the child can attend classes there. Given this unacceptable state of affairs, we ask the City to
provide a response to the findings detailed below that includes the corrective actions the
City intends to undertake to begin to remedy its lack of compliance with the ADA,
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For the past two years, the United States Attorney’s Office for the Southern District of
New York has been investigating whether the City of New York has complied with its
obligations under Title I] of the ADA and the Department of Justice’s implementing regulations
as they relate to the physical accessibility of public elementary schools, including schools housed
in facilities constructed or altered after January 26, 1992.' Our investigation found that New
York City’s elementary schools still are not “readily accessible to and usable by” individuals
with disabilities, 28 C.F.R. §§ 35.150 & 35.151, a population which includes not only students,
but teachers and family members as well.

Nor has the City complied with the requirements of the ADA even as to alterations that
have been undertaken since January 1992, the year that the ADA went into effect. For example,
in one elementary school that we examined, the City installed an elevator in 2000, but neglected
to make that elevator accessible to people with disabilities in accordance with the requirements
specified under applicable federal regulations. As elevator access is almost always a significant
logistical impediment to making a building accessible to those with mobility impairments, the
City’s failure to consider the needs of individuals with disabilities when upgrading and
renovating its existing facilities is inexcusable. The City also has failed to make basic, relatively
low-cost fixes to its facilities that would help make the schools more accessible.

A. Our Investigation

As part of our investigation, we reviewed the City’s policies regarding the accessibility of
New York City schools, including all information available on the New York City Department of
Education (“DOE”) website and the DOE’s Capital Plans, including plans for increasing
accessibility. We have also reviewed the City’s data regarding the accessibility of schools
throughout the five boroughs, the number of children with physical disabilities attending New
York City schools, and the distances traveled on buses by such children to attend New York City
schools.’ Further, we interviewed families of children with mobility impairments who either
attended New York City elementary schools or who had attempted to enroll in a public school
and were discouraged from doing so. Finally, we had an architect who specializes in ADA
accessibility visit eleven schools and conduct a thorough examination of each school to identify
barriers to accessibility. The sample set of schools included schools in every borough. The
schools we selected for examination by the architect were located in school districts with
particularly low percentages of accessible schools, according to data provided to us by the City.
Of the elementary schools we selected, ten were designated by the City as not accessible and one

 

' For purposes of this letter, the term “school” does not include any middle school, high school, pre-kindergarten,
vocational, continuing, or adult education programs.

? We note that the data regarding the bus distances provided by the City was insufficient to calculate the amount of
time the students actually spend traveling to schools, since the amount of time it can take to travel a couple of miles
on a school bus can vary widely depending on the bus route and traffic. Although we have asked the City for more
information regarding actual travel times, the City has not provided the information to us.
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was designated as “functionally accessible.” The inspected schools, and the pertinent findings of
our architect at each of those schools, are identified in Exhibit A to this letter.?

B. Legal Standard

In enacting the ADA, Congress found that “individuals with disabilities continually
encounter various forms of discrimination, including outright intentional exclusion, the
discriminatory effects of architectural . . . and communication barriers, . . . failure to make
modifications to existing facilities and practices . . . segregation, and relegation to lesser services,
programs, activities, benefits, jobs, or other opportunities.” 42 U.S.C. § 12101(5). Therefore,
Congress proscribed not only “obviously exclusionary conduct,” but also “more subtle forms of
discrimination—such as difficult-to-navigate restrooms and hard-to-open doors—that interfere
with disabled individuals’ full and equal enjoyment” of public places and accommodations.
Chapman v. Pier 1 Imps. (U.S.) Inc., 631 F.3d 939, 945 (9th Cir. 2011).

Title II of the ADA provides, among other things, that “no qualified individual with a
disability shall, by reason of such disability, be excluded from participation in or be denied the
benefits of the services, programs, or activities of a public entity, or be subjected to
discrimination by any such entity.” 42 U.S.C. § 12132; see also 28 C.F.R. § 35.149. The term
“public entity” includes local governments. See 42 U.S.C. § 121 311A).

Pursuant to Title II and its implementing regulations, a public entity has the obligation to
provide access to its services and programs in a manner that does not discriminate against .
individuals with disabilities. Specifically, pursuant to Subpart B of the regulations, a public
entity may not, among other things, provide a person with a disability with an aid, benefit, or
service that is not equal to or as effective as that provided to others. See 28 C.F.R. §
35.130(b\(1)(i)-(iii).. A public entity is also prohibited from providing “different or separate aids,
benefits or services to individuals with disabilities than is provided to others unless such action is
necessary to provide [such individuals] aids, benefits, or services that are as effective as those
provided to others.” 28 C.F.R. § 35.130(b)(1)(iv).

With respect to physical access to facilities, Subpart D of the regulations states that “no
qualified individual with a disability shall, because a public entity’s facilities are inaccessible to
or unusable by individuals with disabilities, be excluded from participation in, or be denied the
benefits of the services, programs, or activities of a public entity, or be subjected to
discrimination by any public entity.” 28 C.F.R. § 35.149. The regulations thus require a public
entity to “operate each service, program, or activity so that the service, program, or activity,
when viewed in its entirety, is readily accessible to and usable by individuals with disabilities.”
28 C.F.R. § 35.150. The regulations also specify that in determining how it will provide physical
access to its programs, a public entity is required to prioritize methods of compliance that enable
it to provide services to persons with disabilities in “the most integrated setting appropriate.” 28

 

Although our examination found numerous examples of architectural barriers on each floor of the schools that we
examined, Exhibit A does not list those architectural barriers found on the upper floors of such schools, where those
upper floors are themselves inaccessible to those with mobility impairments.
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C.F.R. § 35.150(b)(1).. Moreover, for alterations affecting the usability of a facility commenced
after January 26, 1992, a public entity is required to ensure that such alterations are “to the
maximum extent feasible . . . readily accessible to and usable by individuals with disabilities.”
28 C.F.R. § 35.151 (aj).

Finally, the regulations also require a public entity to make reasonable modifications to
policies, practices, or procedures when necessary to avoid discrimination on the basis of
disability, unless the public entity can prove that such modification would fundamentally alter
the nature of the service. 28 C.F.R. § 35.130(b)(7). Indeed, courts have explained that public
entities must ensure that individuals with disabilities are afforded “meaningful access” to that
entity’s publicly offered services, benefits, and activities, see, e.g., Alexander v. Choate, 469
U.S. 287, 301 (1985), and that the entity will frequently have to make modifications to its
policies, practices and procedures in order to avoid discriminating against individuals with
disabilities, and to truly afford them “meaningful access.” Jd.; see also Tennessee v. Lane, 541
U.S. 509, 531 (2004) (noting that the “failure to accommodate persons with disabilities will often
have the same effect as outright exclusion”).

C. Findings

The ADA authorizes the Department of Justice to investigate alleged violations of Title
ll, see 42 U.S.C. § 12133, and the implementing regulations authorize DOJ to conduct
compliance reviews of public entities, 28 C.F.R. § 35.172(b). Although our review of the
accessibility of New York City’s public elementary schools is ongoing, and we reserve the right
to supplement our findings, we have reached the following findings of fact and conclusions of
law, and propose certain remedial measures, based upon the information we have obtained to
date.

1. Failure to Make Schools Accessible

First, looking at the public elementary school system in its entirety, we have concluded
that New York City elementary schools are not currently “readily accessible to and usable by
individuals with disabilities.” 28 C.F.R. §§ 35.149, 35.150 & 35.151. Using the City’s own
figures and definition of “fully accessible” schools, only approximately 17% of public
elementary schools are “fully accessible.” Districts 3, 5, 8, 12, 16 and 21 do not have any “fully
accessible” elementary schools. This abysmally low percentage of schools demonstrates that the
City has failed to provide program accessibility to individuals with disabilities comparable to the
program accessibility available to individuals without disabilities.

In recognition of the dearth of “fully accessible” elementary schools, the City has
designated a number of schools as “functionally accessible.” According to the City, a
“functionally accessible” school is one which does not meet the requirements of the ADA, and

 

* These statistics, and the statistics provided throughout this letter regarding the accessibility of public elementary
schools, do not include charter schools or District 75 schools.
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thus is not “fully accessible,” but nonetheless offers individuals with mobility impairments some
level of access to relevant programs and services, including the science laboratory, library,
cafeteria, gymnasium, and at least one restroom.

Our investigation has not yet independently examined whether the schools that the City
has designated as “fully accessible” comply with the ADA, or whether those schools designated
as “functionally accessible” are in fact readily accessible to those with mobility impairments.°
Indeed, the terms “functionally accessible” and “fully accessible” are not derived from the ADA.
We note, however, as discussed later in this letter, that the one school we visited that was
designated by the City as “functionally accessible” lacked certain crucial accessible features,

raising a serious question as to the accuracy of the City’s categorizations. Moreover, the City’s
definition of functional accessibility does not include accessibility for those with hearing or
vision impairments as required by the ADA Design Standards.°

However, even crediting the City’s categorizations and including those schools that have
been designated as “fully accessible” and “functionally accessible,” the percentage of accessible
elementary schools in New York City is inadequate to provide program accessibility. For
example, in the 2013-2014 school year, District 8 had only a single “functionally accessible”
school serving a district with approximately 13,000 elementary students. After we alerted the
City to our concerns regarding the dearth of accessible schools i in District 8 in particular, the City
reclassified a school that had previously been designated as “non-accessible” as “functionally -
accessible,” and opened a new “functionally accessible” school within the district. Yet even with
these changes, in the current school year (2015-2016) only approximately 20% of District 8
schools provide any level of accessibility. ,

Similarly, in the current school year, only approximately 21% of the elementary schools
in District 16 and 31% of the elementary schools in District 4 are designated as “functionally
accessible.” Strikingly, 24 of the 32 City school districts have less than a 50% accessibility rate
for public elementary schools, even when including schools that the City has designated as
“functionally accessible.”

 

5 The City acknowledges that in some of the schools designated as “functionally accessible,” “school programs may
need to be re-located to accommodate access.”

© The term “ADA Design Standards” encompasses both the 1991 ADA Standards for Accessible Design (the “1991
Standards”) and the 2010 ADA Standards for Accessible Design (the “2010 Standards”). The 1991 Standards,
found in Appendix D to 28 C.F.R. Part 36, govern all new construction and renovations under Title 1] of the ADA
from the time period January 26, 1992, through March 15, 2012. Beginning on March 15, 2012, all new
construction and renovations under Title I] must be performed in accordance with the 2010 Standards. See 28
C.F.R. § 35.151(c). The 2010 Standards consist of the 2004 ADAAG and the requirements contained in 28 C.F.R.
Part 36, subpart D. See 28 C.F.R. § 36.104; see also appendices B and D to 36 C.F.R. part 1191 (2009) (“2004
ADAAG”). The architect who conducted the examination of New York City schools identified barriers to access
under both the 1991 Standards and the 2010 Standards. Elements that are identified in this letter as not complying
with the requirements in the 1991 Standards should be modified to comply with the 2010 Standards. All of the
standards and regulations are available at www.ada.gov.
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As a result of the lack of accessible schools, students with mobility impairments are often
excluded from their local zoried school, the schoo! that their peers in their community all attend.
These students may need to spend significant amounts of time traveling to a school that can
accommodate their physical disabilities. Requiring elementary students with disabilities to travel
- extensively at the beginning and end of each school day—a condition which is not imposed upon
their peers—can impose particularly onerous physical demands on these children.

In the course of our investigation, we spoke to one family who went to extreme measures
to keep their child enrolled in their zoned local school, rather than subject the child to a lengthy
commute to the closest “accessible” school. A parent of this elementary school child was forced
to travel to the school multiple times a day, every school day, in order to carry her child up and
down stairs to her classroom, to the cafeteria, and to other areas of the school in which classes
and programs were held.

The City has defended its failure to make a sufficient number of elementary school
facilities accessible by pointing to the fact that the thousands of children with mobility
impairments who attend public school constitute only a small percentage of the overall student
population. We find this explanation unacceptable and inadequate. First, the City’s legal
obligation to provide program accessibility does not depend upon the number of students with
disabilities located in a particular geographic area. See DOJ Title I] Technical Assistance
Manual at 11.5.1000. It will always be the case that children with disabilities will be a relatively
small percentage of the entire student population. Obviously that cannot be a basis not to
comply with the ADA. If even one child has been denied equal access to the City’s educational
programs on account of a disability, that is one child too many. Second, the City’s data does not
account for non-students with disabilities who use public school facilities, such as teachers, staff
members, parents, grandparents, or other family members of school children who wish to
participate in parent-teacher conferences, attend a school performance, or join the PTA. Third,
our investigation has revealed that, due to the dearth of accessible elementary school options,
some parents are effectively forced to send their children to private schools.

We are aware that the City’s most recent five-year Capital Plan includes funds to increase
the accessibility of eleven schools, listed under the “Accessibility Program” of the Capital Plan.
Those efforts are woefully insufficient. The 2015-2019 Capital Plan includes hundreds of
planned physical renovations to schools in addition to the eleven accessibility projects. It is not
clear from the Capital Plan, however, whether any of these additional planned physical

 

? Further, although we have not to date investigated issues pertaining to District 75, we note that the percentage of
students with mobility impairments increases significantly when District 75 schools are included in the analysis.
The City has stated that District 75 is designed to serve children with autism, cognitive delays, severe emotional
challenges, or sensory impairments, Yet our investigation suggests that some families may have been encouraged to
send children with only mobility impairments to a District 75 school, even though these children do not have a
condition that would appear to necessitate a District 75 placement. Indeed, according to figures provided to us by
the City, almost half of the public school children with mobility impairments ultimately attend District 75 schools,
underscoring the severely limited opportunities available to children with mobility impairments and the City’s clear
failure to meet their needs. We reserve the right to conduct an ADA investigation relating to District 75 at a later
date.
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renovations—which include “upgrades” to cafeterias, auditoriums, and toilets—will be
undertaken in such a way as to increase the accessibility of those areas of the schools as well as
the path of travel to those altered areas. Those projects are detailed separately from the eleven
projects listed under the “Accessibility Program” of the Capital Plan. Moreover, as described
below, the City has consistently failed to comply with the ADA when making alterations or
“upgrades” to school facilities. Ata minimum, the City must ensure that all planned upgrades
and renovations are completed in a manner that complies with the ADA and increases
accessibility to school facilities.

2. Failure to Comply with the ADA When Making Alterations to Existing
Facilities

In every schoo! visited by our architect, we identified alterations made after January 1992
that were not compliant with the ADA. Such alterations included, but were not limited to, fire -
alarm systems, door hardware, toilet partitions, cafeteria seating, main office counters, library
furniture, and playground areas. See Exhibit A. The City’s failure to make these altered
components accessible constitutes an explicit violation of the implementing regulations of the
ADA. “Each facility or part of a facility altered by, on behalf of, or for the use of a public entity
in a manner that affects or could affect the usability of the facility or part of the facility shall, to
the maximum extent feasible, be altered in such manner that the altered portion of the facility is
readily accessible to and usable by individuals with disabilities, if the alteration was commenced
after January 26, 1992.” 28 C.F.R, § 35.151(b)(1). The definition of facility includes both “all
or any portion of the buildings, structures .. . [and] equipment.” 28 C.F.R. § 35.104. The fact
that these alterations were made in schools that are not otherwise accessible is no defense for not
ensuring that the altered portion of the facility is readily accessible to and usable by individuals
with disabilities. “The distinction between the treatment of existing facilities and alterations
reflects Congress’ recognition that mandating changes to existing facilities could impose
extraordinary costs. ‘New construction and alterations, however, present an immediate
opportunity to provide full accessibility.’” Civic Ass’n of the Deaf of New York City, Inc. v.
Giuliani , 970 F. Supp. 352, 359 (S.D.N.Y. 1997) (quoting Kinney v. Yerusalim, 9 F.3d 1067,
1074 (3d Cir. 1993)). “Thus, while Congress chose not to mandate full accessibility to existing
facilities, it required that subsequent changes to a facility be undertaken in a non-discriminatory
manner.” /d. “The more stringent requirements for alterations reflect a belief that it is
‘discriminatory to the disabled to enhance or improve an existing facility without making it fully
accessible to those previously excluded.’” Jd. Cf, Disabled in Action of Pennsylvania v.
Southeastern Pennsylvania Transportation Authority, 635 F.3d 87, 92 (3d Cir. 2011) (“In other
words, if a public entity chooses to make changes rising to the level of “alterations” to a facility,
it ordinarily must use that opportunity to make the altered part of the facility accessible, as
well.”). The City must end its practice of ignoring the ADA when making alterations to schools.

a. Post-January 1992 Construction of an Addition to a School

The most glaring example of the City’s failure to make alterations readily accessible to
and usable by individuals with disabilities was the construction of an addition to a school in
Queens in 2000. As a result of this addition, the school has been identified by the City as being
“functionally accessible.” But even though the addition was built ten years after the passage of
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the ADA, it is riddled with inaccessible features, Most strikingly, it has an elevator that is not
compliant with the ADA Design Standards, as the elevator is not the required width. See Exhibit
A; see also 2010 Standards §§ 206.6, 406.4.1; 1991 Standards §§ 4.1.3(1), 4.10.9. Moreover,
while the school’s addition has visual alarms, the visual alarms are not in the classrooms as
required. See Exhibit A. Other non-compliant features in the addition include bathroom grab
bars that are not the appropriate dimensions, door knobs and faucets that require tight grasping
and twisting to operate, drinking fountains with inaccessible features, an inaccessible sink in a
classroom, and a cabinet obstructing a circulation path. See id. Failing to construct the addition
as readily accessible to and usable by individuals with disabilities constitutes a violation of the
ADA. See 28 C.F.R. § 35.151(b)(1).

Further, notwithstanding that the City has designated this particular school as
“functionally accessible,” the gymnasium is not accessible to those with mobility impairments,
as the accessible route is blocked by a half flight of stairs. Moreover, in addition to the issues
relating to the building addition noted above, many other post-January 1992 alterations made at
this purportedly “functionally accessible” school do not comply with the ADA, including the fire
alarm system, the cafeteria seating, the playground area, and the main office counter. See
Exhibit A. These findings, and other barriers to access that were found at this school, as detailed
further at Exhibit A, call into question whether even those schools that are designated as
“functionally accessible” by the City are in fact accessible to those with mobility impairments.

b. Entrances

The City also has failed to add an accessible entrance to those schools that have
undergone renovations since January 1992. When making alterations to a facility, the ADA
regulations require covered entities to make the path of travel to altered primary areas accessible
to the extent the cost of doing so is not disproportionate to the cost of the overall alteration. 28
C.F.R. § 35.151(b)(4). Path of travel accessibility is considered disproportionate when its cost
exceeds 20% of the cost of the alteration to the primary function area. When the cost of
alterations necessary to make the path of travel to an altered area fully accessible is
disproportionate to the cost of the overall alteration, public entities should prioritize certain
elements to provide the greatest access to parts of the facility that have been altered to become
accessible. 28 C.F.R. § 35.151(b)(4)(iv)(A). The first priority to ensure a path of travel to
altered accessible portions of the facility should be an accessible entrance. See id. Of the eleven
schools we examined, however, only one had an ADA-compliant entrance. Four other schools
have an entrance that arguably could be used by some people using wheelchairs, yet these
entrances nonetheless have numerous inaccessible features.* See Exhibit A. These non-ADA
compliant features include ramps with slopes that are too steep for wheelchairs to navigate
safely, insufficient clear space on the ramps to allow wheelchairs to make turns, changes in level
that are not beveled, and ramps with either no handrails or handrails without compliant

 

8 Furthermore, at schools where the main entrances are inaccessible, the City has uniformly failed to provide signage
indicating the locations of an accessible entrance, as they are required to do under the governing regulations. See
2010 Standards §§ 216, 703; Exhibit A.
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extensions and edge control, rendering them unsafe. See Exhibit A. To the extent any of these
ramps were constructed after January 1992, the City has violated the ADA by not making them
readily accessible and compliant with the ADA Design Standards. See 2010 Standards §§ 206.1,
303.3, 405; 1991 Standards §§ 4.1, 4.5, 4.8.° In addition, to the extent primary function areas in
these schools were altered since January 1992, the City has violated the ADA by not spending an
additional 20% of the cost of the alteration on improving the accessibility of these entrances.

The failure of the other altered schools to construct any accessible entrance is even more
troubling, as each of these schools has entrances that easily could be made accessible to those in
wheelchairs. For example, PS 41 has a street level main entrance that requires only a minor, one
inch change in level to render it accessible. Making such alterations to school entrances is a
critical step in providing access to the City’s public elementary school programs to more
individuals with disabilities.

c. Alarm Systems

Our examination of the sample set of schools also revealed that, in a number of schools,
alarm systems had been upgraded or replaced without fully complying with the regulations
regarding visible alarms. See 2010 Standards §§ 215.1, 702; 1991 Standards § 4.28.1.
Specifically, as outlined in Exhibit A, a number of schools have installed visible alarm systems,
but failed to install visible alarms in all locations used by students. Failure to properly install
visible alarms in all areas of common usage leaves individuals with hearing impairments at risk
in the event of a fire or other emergency. Each of the elementary schools that has upgraded or
replaced its fire alarm system since January 1992 but has failed to install visible alarms in all
common use areas, including in all restrooms, classrooms, and any other room used by students
or members of the public, should remedy its violations of the ADA promptly.

d. Door Hardware

Schools uniformly did not have accessible door hardware. The ADA requires that door
hardware must be operable with one hand and shall not require tight grasping, pinching, or
twisting of the wrist. See 2010 Standard §§ 206.5, 309.4, 404.2.7; 1991 Standards § 4.13.9. Itis
improbable that none of the schools we visited has changed any of its door hardware in the past
24 years. To the extent that any of the hardware was replaced since January 26, 1992, and
hardware was installed that does not meet the ADA Design Standards, the City has violated the
ADA. Even if door hardware in elementary schools has not been replaced since the ADA was
enacted, updating door hardware so that it can be operated by those with physical impairments is

a low cost change the City should make to its public schools to generally increase program
accessibility.

 

* To the extent any of these ramps were constructed prior te January 1992, the alterations required to bring these
ramps into compliance with the 2010 Standards are relatively minor. Yet these changes still have not been made.
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e. Main Office Counters

A number of schools installed non-ADA compliant counters in their main offices after
the ADA Standards for Accessible Design went into effect, as set forth in Exhibit A.
Specifically, when installing such counters, the City was required to ensure that either a portion
of the main counter or an auxiliary counter had a maximum height of 36 inches. See 2010
Standard §§ 227.3, 904.4; 1991 Standards § 7.2(2). The City’s failure to do so violated the
ADA.

fi Playgrounds

A number of the schools that we surveyed also failed to comply with the ADA Standards
for Accessible Design when renovating their playgrounds post-January 1992. Schools installed
seating areas in the playgrounds that were not accessible, and many playgrounds had changes in
level that were not beveled or sloped in a manner compliant with the ADA Standards for
Accessible Design, as detailed in Exhibit A. Furthermore, many of the accessible entrances to
these playgrounds do not comply with the ADA Standards for Accessible Design, including by
having ramps that are too steep or without handrails. See id.

3. Program Access and Failure to Make Reasonable Modifications

Our investigation also revealed that the City has failed to undertake ongoing physical and
programmatic changes to ensure that its elementary schoo! program, when viewed in its entirety,
is accessible and usable by people with disabilities. 28 C.F.R. § 35.150. In addition, the City
has failed to consider requests by students with disabilities for reasonable modifications that
would allow those students to attend their zoned school, 28 C.F.R. § 35.130(b)(7), including by
failing to assess whether requested modifications would be reasonable in a particular case.
Subsequent to the start of our investigation, the City made information regarding accessible
schools easier to find on its website, implemented a complaint procedure for families
encountering issues with physical accessibility, and assigned an individual to consider individual
requests to make alterations at a particular school that could allow a disabled student greater
access to school facilities. We appreciate the City’s efforts to increase the information available
to parents and to be more responsive to the needs of individuals with disabilities. However,
these efforts fall far short.

We have reviewed the information available on the DOE’s website regarding physical
accessibility and have not found any reference to a policy or guidelines addressing how decisions
concerning particular requests for accommodations will be made. Moreover, while there is a link
to an email address for “general inquiries about accessibility,” there is no indication that
reasonable modifications are being offered to students with physical disabilities who wish to
attend a school that is not listed as either accessible or “functionally accessible.” Parents visiting
the DOE website would not be aware of the possibility of requesting such a modification, and
may therefore reasonably assume that their child must only attend one of the “accessible”
schools. The City’s failure to provide a mechanism for students with disabilities to request a
reasonable accommodation violates the ADA. See 28 C-F.R. § 35.106.
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D. Minimum Actions Necessary to Remedy Violations

1. Ensure that All Post-January 1992 Alterations and New Construction
Comply With the ADA Design Standards

First, as noted above, our investigation revealed that the City has routinely ignored the
requirements of the ADA when making alterations to school facilities. The City must end this
practice going forward. The City must also remedy its past violations of the ADA by ensuring
that all post-January 1992 alterations made to its public school facilities, as well as all new
construction since January 1992, comply with the relevant ADA Design Standards. The City
must act expeditiously to remedy all violations identified above and in Exhibit A with respect to
the schools surveyed in the course of our investigation. The City must also conduct a
comprehensive survey, under the supervision of a consultant mutually acceptable to the City and
the United States with expertise in the area of ADA accessibility, of its existing facilities to
identify other failures to comply-with the ADA when making alterations or constructing new
facilities, and act to remedy those additional violations.

2. Provide Program Accessibility to the First Floor, Auditoriums,
Gymnasiums, and Cafeterias

In addition to remedying its violations with respect to new construction and post-January
1992 alterations, the City must take immediate steps to remedy the systemic accessibility failings
in the City’s public elementary schools. See C.F.R. § 35.150(b) (noting that public entities can
comply with the ADA by altering existing facilities in such a way as to make its services,
programs, or activities readily accessible to and usable by individuals with disabilities where
other methods are ineffective in achieving compliance). As an initial matter, the City must
develop a comprehensive plan to survey all elementary schools and recommend a system-wide
remediation plan to address the lack of accessibility. The City should make it a priority to
increase the accessibility of the first floors of school buildings and the rooms used by all
students, teachers, parents, or other visitors to the schools, including making the following
accessible: at least one entrance, all classrooms, the auditorium, the gymnasium, the cafeteria,
and at least one toilet stall for each sex (for adults and children) or a single unisex toilet room

_ (for adults and children). See 28 C.F.R. § 35.151(b)(4)(iv)(A) (deseribing which elements

should be prioritized to provide the greatest access). In passing the ADA, Congress explained
that the concept of readily accessible “is intended to enable people with disabilities (including
mobility, sensory, and cognitive impairments) to get to, enter and use a facility. While the term
does not necessarily require the accessibility of every part of every area of a facility, the term
contemplates a high degree of convenient accessibility, entailing accessibility of parking areas,
accessible routes to and from the facility, accessible entrances, usable bathrooms and water
fountains, accessibility of common use areas, and access to the goods, services, programs,
facilities, accommodations and work areas available at the facility.” H.R. Rep. No. 101-485, pt.
2, at 117-118 (1990). Many of the required modifications are minor, but the benefits—increasing
accessibility for many—are hugely significant {in the lives of children, their families, and others

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who use the schools.
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a. Entrances

As discussed above, the first priority in ensuring that the first floor of a facility is readily
accessible to and usable by individuals with disabilities is ensuring that at least one entrance to
the school is accessible. To the maximum extent feasible, every New York City school should
have at least one accessible entrance. We have concluded that it would be feasible to construct
an accessible entrance at each of the elementary schools that we examined, to the extent one did
not already exist.

b. Bathroom on the First Floor

Other than the Queens school that underwent a recent addition, not one of the schools we
examined had an accessible toilet room for adults or children on the first floor of the school.

_This means that children in wheelchairs are denied accessible bathrooms at these schools. It also

means that any family member with a mobility disability attending a school performance or a
parent-teacher conference is not able to use a restroom during his or her visit. As noted,
providing at least one accessible toilet room on the first floor of every school should be a priority
of the City.

c. Auditoriums

The accessibility of auditoriums is not only important for students, but also for family
members and members of the public who assemble in the auditorium throughout the school year
for school performances or public events. A parent in a wheelchair should be able to attend his
or her child’s school performances. Yet every school auditorium we visited lacked basic
accessible features. Assembly areas with fixed seats and an audio amplifications system require
the provision of an assistive listening system. See 2010 Standards § 219; 1991 Standards
§ 4.1.6(1). Despite this requirement, none of the schools we examined had assistive listening
systems available in the auditoriums. Even where there were indications that such a system had
been installed, the receiver devices needed to use the systems were not located on school
premises. See Exhibit A. The regulations further require a certain percentage of seats to be
replaced with wheelchair accessible spaces. 2010 Standards § 221; 1991 Standards § 4.1. Yet,
although nine of the schools that we visited had auditoriums on an entry level floor, not one had
a single wheelchair accessible space in the auditorium. See Exhibit A. Finally, although many
of the schools we examined use the auditorium stage for student instruction, not a single school
that we examined had an accessible route from the seating area to the stage that was compliant
with the ADA Standards for Accessible Design. See Exhibit A. Again, such accessibility is
necessary to provide access to the City’s public elementary school program.

d, Gymnasiums

School gymnasiums are also commonly used for large group events involving family
members and children and should therefore be readily accessible to and usable by individuals
with disabilities. For about half of the schools we examined, the gymnasiums were on the first
floor and could be made accessible by making very minor modifications. Such changes include
ensuring that coat hooks and other operable parts are within reach and not obstructed, installing
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accessible drinking fountains with accessible controls and with the requisite knee space,
addressing obstructions in circulation paths, and providing wheelchair seating in gymnasiums
with fixed assembly seating. See Exhibit A.

e. Cafeterias

Cafeterias are also commonly used for large group events involving families and.
children, and should therefore be readily accessible to and usable by individuals with disabilities.
As with gymnasiums, in the overwhelming majority of schools we examined, the cafeterias were
on the first floor and could be made accessible through minor alterations. One consistent
problem we saw throughout the schools is that, even where new cafeteria tables had been
purchased since January 1992, the City had not installed any accessible tables. Consistent with
the governing regulations, when the City replaces fixed furniture at schools, the new furniture
must be readily accessible to individuals with disabilities. See 28 C.F.R. § 35.151(b); 2010
Standards §§ 226.1, 902.2; 1991 Standards §§ 4.1.6(1), 4.1.3(18), 4.32. To the extent any of the
furniture does not include fixed seating, such as moveable cafeteria tables, the City is still
required to make reasonable modifications to ensure that students with mobility disabilities are
able to eat in the cafeteria. 28. C.F.R. § 35.130(b)(7). Other barriers to accessibility in the
cafeterias we visited were inaccessible drinking fountains, inaccessible bathrooms, objects
protruding into circulation paths, coat hooks that are too high, and insufficient clear openings at
entrances to the cafeteria and entrances to food lines. See Exhibit A. Most of these barriers to
accessibility could be removed with minimal cost to the City.

3. Remedy Protruding Objects and Absence of Signage

In every school that we examined, we found wall mounted objects that protruded into
circulation paths, in violation of Section 307 of the 2010 Standards. See also 1991 Standards §
4.4, See Exhibit A. Such protruding objects are a hazard to those who are blind or have low
vision, as they can be seriously injured if they cannot detect such objects with the sweep of their
canes. The City could easily remedy these barriers to accessibility in its schools by ensuring
either that such objects are mounted in accordance with the specifications set forth in the 2010
Standards, or that a fixed element is placed at a cane-detectable height, such as a barrier or other.
detectable warning system.

Similarly, schools uniformly lacked signage with raised characters that conforms to
Sections 216 and 703 of the 2010 Standards, as detailed in Exhibit A. Posting such signage at
entrances, exits, stairways, classrooms, and restrooms would not be unduly expensive, and would
increase the accessibility of public schools for those with vision impairments. Signage directing
persons with mobility impairments to an accessible entrance or restroom, where such entrances
or restrooms exist, would also increase the accessibility of schools at a relatively minima!
expense to the City.
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4. Develop a Reasonable Modification Policy to Address the Needs of
Children with Physical Disabilities

Students with disabilities must be provided with a mechanism for requesting reasonable
accommodations from DOE that would permit them to attend their school of choice, even if such
school has not been designated as accessible by the City. DOE should make clear to parents and
students that such accommodations may be not only for structural changes to the facility, but
could also include non-structural accommodations, such as moving a classroom to the first floor
of a school or providing a student with an aide, depending upon the facts of the particular case.
DOE should clearly set forth the mechanism for making such requests on its website.

The City should also develop a policy or guidelines for addressing such requests. Where
a request would require the removal of architectural barriers, the City should make an assessment
as to whether the removal of such architectural barriers is necessary in that particular case in
order to provide the benefits of the elementary school program (including benefits to parents,
family members and the public, as applicable) in the most integrated setting appropriate. Finally,
the policy or guidelines governing requests for reasonable modifications should also be clearly
stated on the DOE website.

We request that the City provide a response to this findings letter, including an outline
and timeline of the corrective actions the City intends to undertake to begin to remedy its lack of
compliance with the ADA, within 30 days. We look forward to your continued cooperation with
this investigation.’

Sincerely,

PREET BHARARA
United,States Attorney

By: Mice teu Zeb lateroe
LARA K. ESHKENAZ!
JEANNETTE A. VARGAS
Assistant United States Attorneys
Tel.: (212) 637-2758/2678

 

Attachment

 

© Please note that this Letter of Findings is a public document and will be posted on the website of the United States
Aitorney’s Office and at www.ada.gov.
 

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The University of the State of New York
The State Education Department
Teacher Tenure Hearing Unit

 

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Ph: ($48) 474.3024

 

 

 

 

 

   

 

 

 

 

EBA Room 951 Fax: (518) 402-5940
Albany, New York 12234
Caer [ee a {06/12}
. __- Hearing Request/Waiver for. Education Law §3020-8 Charges jyrj air
This form is for you to request a hearing on the Education Law §3020-a charges brought
instructions | against yeu, or to waive your right to a hearing such charges. You must return this form within
te the 16 days of receipt of the charges to the Clerk or Secretary of the Board of Education that
Tenured brought charges against you. if you fail to request a hearing or waive your right to a hearing
Employes: within 10 deys, you will be deemed fc have waived your right to a hearing on the charges and
your employing board will meet te determine a penalty.
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cig: alenured Employee information-:..3.;
Name Berta Morales Phone
Address 800 E 149 St Phone
Address aC Fax
City, State Zip Email

 

 

 

 

Bronx, NY 10455

   

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i request @ hearing on the charges served against me pursuant to Education Law §3020-2
Regina Lopez

28-11 Queens Plaze North Rm 408
Long Island City, New York 11107

 

Please send Hearing Request to:

 

| waive the right to have a. hearing pursuant te Education Law §3020-a. | understand the Board of

Education will meet to determine the case and fix the penalty or punishment, if one is to be imposed,

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

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The Universiy of th State of New York
The State Education Department

Teacher Tenure Hearing Unit Pho (318) 474-3021

ERA Room 984 Fax: {818} 402-5946

Albany, New York 12234

 

 

 

(08 12)

 

  

 

The District Sistkc or the Secretary of the Board of Education must ie iis form via fax or mall
with the Education Department when the Board of Education has found that there is probable

instructions: | —cuse to bring charges against a tenured educator, A copy of the Notice of Probable Cause

 

 

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Name Berta Morales | SSN To93-72.2744
Address 800 E 149 St DOB 03/02/1974
Address 3c

 

 

City, State, Zip, | Bronx, NY 10455

     

wea SEF.

 

| District Name 09X070 - P. S. 70

 

 

 

 

 

 

 

 

Address 1691 Weeks Ave Phone 4
Address Phone 2
City, State, Zip |Bronx, NY 10457 __ Fax

"| Contact Name Principal Kerry Castel lano Email

 

 

 

 

Date Charges Filed: September ri 0, 204: 3 Date of Executive Session:

 

Charge Detail: Please see attached Specifications

 

Cc immoral Character Cc] Lack of Certification Incompetence

Nature of Charges:

(Check ail that apply) | L-| Misconduct [2] Conduct Unbecoming | [x] Neglect of Duty

 

 

 

 

 

insubordination Ol Corporal Punishment Ci Sexual rarassment

 

 

Firm Name New York City Department of Education:

 

AttomeyName | Rishona Fleishman, Esq. | Phonet | 212-374-6888

 

Address 49-51 Chambers Street, Room 611 Fax 242-374-9298

 

City, State, Zip New York, New Yark 10007 Email

 

 

 

 

 

 

 
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The University of the State of New York

The State Education Department .
Teacher Tenure Heating Unit Ph: (518) 474-3094
EBA Room 584 Fax: ($19) 402-5040

Albany, New York 12744

 

 

 

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Notice of Determination of Probable Cause on Education Law, §3020-a Charges

 

tone: | fhe Notics must be served on the tenured amployes along wih s copy of the Educstion Law
instructions: §3020-¢ charges, the Rights of Tenured Employees form and the Hearing Request/Waiver form.

 

 

 

 

 

 

 

 

| - ‘Tenured Bape intormation
Name Berta Morales ,
Address 800 E 149 St
Address 30
City, State, Zip | Bronx, NY 10455

, "_"_Notice to Ténuréd Bmployee.

 

 

 

Date Charges Filed: /September 10,2013 | Date of Executive Session:

 

 

Please be advised that at 2 meeting in executive session on the above date
the school district identified herein has found that there is probable cause for
Education Law §3020-a charge(s) against you. The specific charges are
attached to this form, Within ten 40} days of receipt of these charges, you
must elect to request a hearing before an impartial hearing officer, or waive
your right to such a hearing. Should you fail to so request or to waive your
right to a hearing within the specified ten days, the district clerk or the
Seciclary of the board of sducation will notify both you and the
Commissioner of Education that 4 waiver has been deemed to have occurred
and that the board of education will meet to determine the case and fix the
penalty or punishment, if one is te be Imposed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ Schobl District information
BiswictName /O9X070-P.S. 70
Address 1691 Weeks Ave Phone 1
Address 7 Phone 2
City, State, Zip | Bronx, NY 10457 Fax
VontattName | Principal Kerry Castellanc Email
2 . _.. Authorized Signature |”
Name Leet Contos | | 9 fio 13
fetid .
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Bylaws of the
Panel for Educational Policy
of the Department of Education of the
City School District of the
City of New York

PREAMBLE

The Board of Education of the City of School District of the City of New York is created
by the Legislature of the State of New York and derives its powers from State law.

The thirteen member body designated as the Board of Education in section 2590-b of
the Education Law shall be known as the Panel for Educational Policy. The Panel for
Educational Policy is a part of the governance structure responsible for the City School
District of the City of New York, subject to the laws of the State of New York and the
regulations of the State Department of Education. Other parts of the structure include
the Chancellor, superintendents, community and citywide councils, principals, and
school leadership teams. Together this structure shall be designated as the Department
of Education of the City of New York.

The members of the Panel for Educational Policy are appointed according to law as
follows: one member is appointed by each Borough President and eight members are
appointed by the Mayor. Each Borough President’s appointee shall be a resident of the
borough for which the borough president appointing him or her was elected and shail be
the parent of a child attending a public school within the City School District. Each
mayoral appointee shall be a resident of the city and two mayoral appointees shall be
parents of a child attending a public school within the City School District. The parent
members shall be eligible to continue to serve on the City Board for two years following
the conclusion of their child’s attendance at the public school. The Chancellor shall
serve as a non-voting ex-officio member of the Panel for educational Policy. The Panel
shall also include two non-voting student advisory members selected by the
Chancellor's High School Advisory Council. All members serve at the pleasure of the
official who appointed them.

A vacancy on the Panel for Educational Policy shall, by law, be filled by appointment by
the appropriate Borough President or the Mayor within 90 days of such vacancy.

The Bylaws of the Panel for Educational Policy set forth rules by which the Panel
governs the conduct of its official business and affairs.

ARTICLE 1
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Members of the Panel for Educational Policy
Section 1.1 Members and Officers

The Panel for Educational Policy shall elect its own Chairperson and Vice Chair
from among its voting members.

The Chairperson shail preside at all meetings of the Panel for Educational Policy
and perform all duties assigned to him/her by law and these Bylaws;

The Chairperson shall appoint all committees except as otherwise determined by
the Panel for Educational Policy, and the Chairperson and Vice Chair shall be
non- voting ex officio members of all committees;

The Panel for Educational Policy shall appoint a Secretary of the Panel who is
not an appointed member of the Panel but who shail otherwise exercise the
powers and duties conferred to him or her by these Bylaws.

The Chancellor is the chief executive officer and Superintendent of the City
School District and shall have such powers and duties as are prescribed by law.
He/she shall have a seat on the Panel for Educational Policy and the right to
speak, but not to vote, on all matters before the Panel.

The Chancellor shall have custody of the corporate seal;

Nothing in these Bylaws shail be construed to affect the powers and duties conferred by
law directly on the Chancellor as the chief executive officer and Superintendent of the
City School District.

1.1.1 Absence or disability of the Chairperson or Vice Chair

In the event of the absence or disability of the Chairperson, the Vice Chair shall perform
the duties of Chairperson.

In the event of the absence or disability of both the Chairperson and the Vice Chair, the
Secretary shall call the roll, and on the appearance of a quorum, shall call the Panel to
order, when the Panel shall elect a chairperson pro tempore to perform the duties as
Chairperson with regard to presiding at that meeting.

Section 1.2 Panei Members — Functions
The members of the Panel for Educational Policy shail perform those duties and have
those responsibilities assigned to them by Education Law 2590-g, including the

responsibility to advise the Chancellor on matters affecting the welfare of the city school
district and its pupils.

Section 1.3 Non-Voting Student Advisory Members
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Non-voting student advisory members shall consist of two high school students selected
by the Chancellor’s High School Student Advisory Council. The advisory members may
attend all public meetings of the Panel for Educational Policy but shall have no vote.
The terms of the non-voting student advisory members shail begin on July 1st and end
on June 30th of the following year.

Section 1.4 Committees of the Panel for Educational Policy
1.4.1 Appeals Committee

When an appeal is filed pursuant to pursuant to sections 2590-g, 2590-1, and 2590-
i(2)(a) of the Education Law, the Chairman of the Panel for Educational Policy may
appoint an appeals committee to hear appeals and make recommendations to the full
Panel.

1.4.2. Contracts Committee

The Chairperson of the Panel for Educational Policy shall appoint a Contracts
Committee which shall be responsible for reviewing contracts proposed by the
Chancellor and making recommendations to the full Panel. The Contracts Committee
shall be comprised of three Panel members appointed by the Mayor, two Panel
members appointed by Borough Presidents, and a non-voting designee of the
Chancellor who shall be responsible for providing information to the Contracts
Committee regarding proposed contracts to come before the Panel.

1.4.3. Other Committees

The Panel for Educational Policy may have additional committees which shall be
appointed by the Chairperson in accordance with these Bylaws. Committees of the
Panel for Educational Policy may include advisory members of the committee with no
voting rights. An advisory member(s) may be affiliated with the public, private, or non-
profit sectors.

Section 1.5 Secretary-Functions

1.5.1 Secretary’s appointment and duties.

The Secretary of the Panel for Educational Policy shall:

¢ have charge of the books, papers and documents of the Panel for Educational Policy;

* prepare the agenda for each meeting of the Panel for Educational Policy;

¢ keep the minutes of the Panel for Educational Policy and such other minutes as the
Panel for Educational Policy may direct;
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* make minutes of all Panel regular meetings available to the public, including via the
City Board’s official internet website, in a timely manner but no later than the
subsequent regular Panel meeting.

* review and process in accordance with appropriate directives all appeals to the Panel
for Educational Policy filed in accordance with law, and be the clerk of the appeal board
in accordance with regulations of the Commissioner of Education, part 113; and

* perform such other duties as the Chairperson and the Panel shall require including
providing appropriate follow-up information as requested within a reasonable time of the
request.

1.5.2 Secretary’s absence

When the Secretary is not present at any meeting, the Secretary’s duties shall be
performed by a designee of the Chairperson.

ARTICLE 2
Meetings
Section 2.1 Types of Panel for Educational Policy Meetings

Meetings shall be open to the public except to the extent permitted by law. The Panel
for Educational Policy may adjourn a meeting or recess a meeting by agreement of a
majority of those members attending a meeting. Upon announcing an adjournment or a
recess, the Chairperson shall also announce an estimated date and/or time for
reconvening the Panel for Educational Policy into public session.

2.1.1 Calendar Meetings

The Panel shall hold at least one public meeting per month. These meetings are
held to take official action, in public, on matters for which the Panel for
Educational Policy is responsible. At calendar meetings, business shall be the
consideration of the resolutions, communications and other appropriate matters
as described in the agenda accompanying the meeting notice. No other matters
shall be considered except by consent of a majority of the members present.

At calendar meetings the Chairperson shall ensure that there is a sufficient
period of time to allow for public comment on any topic on the agenda prior to a
vote by the Panel.

Notice of Calendar Meetings
At least ten business days in advance of calendar meetings, notice of the time,

place and agenda for such meetings shall be publicly provided, including via the
Panel for Educational Policy’s official internet web site, and circulated to all
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community superintendents, community district education councils, community
boards and school leadership teams.

Agenda for Calendar Meetings

The agenda for each calendar meeting shall be comprised of a list and brief
description of the subject matter being considered and identification of all items
subject to a Panel vote. The agenda for each calendar meeting shall also
include the name, office, address, email address, and telephone number of a City
District Representative, knowledgeable about the agenda, from whom any
information may be obtained and to whom written comments may be submitted
concerning agenda items.

2.1.2 Public Agenda Meetings and Public Hearings

These meetings are held to encourage maximum participation of the general
public in the work of the Panel for Educational Policy. At these meetings, the
Panel listens to the views of the public. These meetings may proceed without a
quorum present. No votes are taken at these meetings.

These meetings shall be called at the discretion of the Chairperson.
2.1.3 Special Calendar Meetings and Adjourned or Recessed Meetings

Special calendar meetings may be held on the call of the Chairperson. Where
possible, written notice of such meeting shall be given to each Panel member not
less than twenty-four (24) hours in advance of the meeting, but in any event shall
be provided as soon as practicable, and shall state the matters to be considered.
No other matters may be considered at such meetings except with the consent of
all members present. Meetings may be reconvened to continue the work of an
adjourned or recessed meeting.

2.1.4 Change in Date or Time and Cancellation of Meetings

A meeting of the Panel for Educational Policy may be changed to a stated date
and time at the direction of the Chairperson.

2.1.5 Place and Time of Meetings

All calendar meetings of the Panel for Educational Policy and public agenda
meetings shall be held at a place to be determined by the Chairperson.

At least one regular public meeting shall be held in each borough of the City of
New York per year.

The Panel for Educational Policy shall consider appropriate public
accommodations when selecting a venue so as to maximize participation by
parents and the community.
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2.1.6 Notification

The Secretary shall notify all members of the postponement or cancellation of
any regular meeting or the calling of any special meeting or the holding of any
adjourned or recessed meeting.

Section 2.2 Quorum

A majority of the members of the Panel for Educational Policy shall constitute a quorum
at all meetings of the Panel for Educational Policy. If a smaller number than the majority
is present, the Secretary shall call the roll, record the names of the absentees and
adjourn.

The Panel for Educational Policy shall act at its calendar and special meetings by a
majority of the whole Panel for Educational Policy.

The Panel for Educational Policy shall act at executive sessions to the extent permitted
by law by a majority of the whole Panel.

A committee of the Panel for Educational Policy shall act at committee meetings by a
majority of the committee, to the extent permitted by law.

Section 2.3 Parliamentary Procedures

The Chairperson shall decide all questions of order and procedure, for which the
Chairperson shall refer to Roberts Rules of Order as he or she deems necessary.

At the calendar meeting the Secretary will read the heading of every resolution on the
calendar. If no one attending the meeting wishes to address a particular resolution, it
will be voted on the first reading.

When a question is put, every member present shall vote thereon, unless excused by
the Panel. The minutes of the meeting shall reflect the vote of each member present
and at the request of any member the roll of those present shall be called for the
purpose of recording the yeas and nays.

if the Panei for Educational Policy does not complete the business items of a calendar
meeting, the Chairperson may adjourn or recess the meeting to a specified date and
time, or instruct the Secretary to reschedule the unfinished business at the next regular
calendar meeting or at a special meeting.

Section 2.4 Construction of Calendar
All resolutions requiring Panel for Educational Policy action shall be submitted to the

Secretary at least five days in advance of the deadline for the provision of public notice
of the meeting, as described in Section 2.1.1 of these Bylaws.
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Except as otherwise provided by law, an emergency adoption of an item
proposed pursuant to Education Law 2590-g(1) shall remain in effect for 60 days,
during which time the Panel for Educational Policy shall comply with the public
review process described in Section 2.5 of these Bylaws in order for the adopted
item to become permanent.

Emergency adoptions of items relating to school closures or significant changes
in school utilizations shall remain in effect for six months. During this time the
Panel shall comply with the process described in Section 2.5 of these Bylaws in
order to extend the school closure or change in school utilization beyond the six
month period.

Section 2.6 Minutes
Minutes of calendar meetings shall be made publicly available, including via the Panel
for Educational Policy’s official internet web site, in a timely manner but no later than the
subsequent calendar meeting.
ARTICLE 3
Bylaws

Section 3.1 Adoption-Amendment-Repeal

Bylaws shall be adopted, amended or repealed by vote of the majority of the Panel for
Educational Policy and in accordance with the requirements of Education Law 2590-d.

Section 3.2 Suspension

Bylaws may be suspended as to a particular instance or matter, but not in general, on
the vote of a majority of the full membership attending a public calendar or special
meeting of the Panel for Educational Policy. Only those suspensions so enacted and
recorded in writing shall have official status as representing the position of the Panel for
Educational Policy.

ARTICLE 4

Personnei
Section 4.1 Sabbatical Leaves of Absence
Sabbatical leaves of absence with pay may be granted by the Chancellor to eligible
personnel in accordance with policies of the Panel for Educational Policy. For

community school districts, the community superintendent may grant such leaves in
accordance with policies of the Panel and regulations of the Chancellor.
2.5.2

2.5.3

2.5.4

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f) the allocation of projected revenues among community districts and
their schools pursuant to Education Law 2590-r(a) and the
aggregation of the community district budgets pursuant to 2590-r(f);

g) a procurement policy for the City District and any amendments
made thereto; and

h) proposals for all school closures or significant changes in school
utilization.

The public review process shall include notice of the proposed item under Panel
consideration at least 45 days in advance of the Panel vote on such item. Such
public notice shall include a description of the subject and the purpose and
substance of the proposed item under consideration, and shall otherwise
conform to the requirements of Education Law 2590-9(8)(a).

For purposes of this section, amendments of proposed items described in
subsections (c) and (d) above do not include correction of typographical or
grammatical errors, changes of contact information, and reformatting of
documents.

Notice of Revisions

In the event that an item proposed to the Panel pursuant to 2590-g is
substantially revised after public notice has been provided, the Panel for
Educational Policy shall issue a revised public notice. Such revised notice shall
be issued at least 15 days before a Panel vote on the proposed item, but in no
event shall the Panel vote on the proposed item within 45 days from the date of
the initial public notice. Notice of the revised item shall otherwise conform to the
requirements of Education Law 2590-g(8)(b).

Assessment of Comments

Following the public review process, the Secretary shall make available to the
public, including via the Panel's official internet web site, an assessment of the
public comments concerning the item under consideration prior to 24 hours
before the Panel vote on such item. The Secretary shall conduct such
assessment in accordance with Education Law 2590-g(8)(c).

Emergency Adoptions

In the event that the Panel for Educational Policy or the Chancellor determines
that immediate adoption of any item requiring Panel approval is necessary for the
preservation of student health, safety or general welfare and that compliance with
the public review process described in Section 2.5 of these Bylaws would be
contrary to the public interest, such proposed item may be adopted on an
emergency basis in accordance with the procedures set forth in Education Law
2590-g(9).
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Except as otherwise provided by law, Panel members may request that items be placed
on the calendar by notifying the Secretary in writing no later than two business days
prior to the deadline for provision of public notice of the meeting. If, however, a Panel
member makes such a request after the two day deadline but at any time prior to the
upcoming calendar meeting, the Chairperson shall respond to the request at any time
prior to that meeting.

if a member of the Panel for Educational Policy requests that an item be placed on the
calendar at a calendar meeting, the Chairperson shall take a vote of the Panel members
regarding whether such item shall be added to the calendar. An item may be added to
the calendar at the meeting by majority vote of those present.

Any item which is not submitted in accordance with these procedures may be withheld
by the Secretary and will appear on the calendar for the subsequent meeting.

Items may only be included on the agenda as provided by these Bylaws.

To the extent practicable, the Secretary shall deliver the agenda for each business
meeting along with all available supporting materials to each member of the Panel for
Educational Policy at least ten (10) business days in advance of the meeting, except in
the case of a special meeting called under extenuating circumstances when materials
shall be delivered at least twenty-four (24) hours in advance.

Section 2.5 Public Review Process
2.5.1 Notice and Comment Period

The Panel for Educational Policy shall undertake a public review process prior to
approving the following proposed items pursuant to Education Law 2590-g(1):

a) standards, policies and objectives proposed by the Chancellor
directly related to educational achievement and student
performance;

b) standards, policies, and objectives as specifically authorized or
required by state or federal law or regulation;

Cc) regulations proposed by the Chancelior and the Panel and any
amendments made thereto;

d) the educational facilities capital plan, and any amendments
requiring Panel approval, pursuant to Education Law 2590-p;

e) annual estimates of the total sum of money which the Panel deems
necessary for the operation of the City District and the capital
budget, pursuant to Educational Law 2590-q;
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Such sabbatical leaves may be terminated by the Chancellor or community
superintendent prior to the initially established expiration dates thereof.

Such sabbatical leaves may be canceled by the Chancellor or community
superintendent when the application for cancellation is received prior to the first school
day of the period of such leave.
Section 4.2 Removal-Suspension-Trial of Charges
4.2.1 Charges

Charges may be preferred against any employee for:

unauthorized absence from duty or excessive lateness;

neglect of duty;

conduct unbecoming his/her position, or conduct prejudicial to the good order,
efficiency or discipline of the service;

incompetent or inefficient service;
violation of the Bylaws, rules or regulations of the board of education; or

any substantial cause that renders the employee unfit to perform his/her
obligations properly to the service.

4.2.2 Trial of Charges-Classified Employees

The Chancellor or the Chancellor's designee shall initiate charges against an
employee in the classified service in accordance with Civil Service Law, section
75.

4.2.3 Trial of Charges-Charges

An employee against whom charges have been preferred shall in person, or by
counsel or representative, be entitled before the hearing to be furnished a copy
of the charges and specifications, and shall be entitled to participate in person,
by counsel or representative, in the trial of the charges, to cross-examine
opposing witnesses and to call and examine witnesses in his/her own behalf. The
preferral of charges against an employee shall not prevent the inclusion in the
trial of additional charges and specifications, provided the employee is informed
thereof.

4.2.4 Default or Waiver by Employee

if a pedagogical employee waives the right to a hearing pursuant to a section
3020-a of the State Education Law, the Panel for Educational Policy or the

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community superintendent, as applicable, shall proceed to determine the case
and fix the penalty or punishment, if any to be imposed, in accordance with
section 3020-a of the State Education Law.

4.2.5 Decision on Charges After Trial
1) Teaching and Supervisory Staff

Within thirty days of receipt of the report of the section 3020-a hearing panel, or
as soon thereafter as practicable the Chancellor or the community
superintendent, as applicable, shall implement the panel's recommendations. An
appeal of the findings and recommendations of the hearing panel may be taken
in accordance with section 3020-a of the State Education Law.

2) Classified Employees

The report of a trial committee or trial examiner shall be subject to final action by
the Chancellor who shall, before acting, review the testimony and the evidence in
the case. The reasons and factual basis for the decision shall be summarized in
the Chancellor’s final decision.

4.3 Reviews related to Ratings and/or Recommendations re Probationary Service
of Pedagogical Personnel

4.3.1 Appeals re Ratings

Any person in the employ of the City School District who appears before the
Chancellor, or a committee designated by the Chancellor, the size and
composition of which the Chancellor is to determine, in respect to an appeal from
a rating of an other than a satisfactory rating or an NR rating shall be afforded the
opportunity for review in the manner set forth herein and in procedures
established by the Chancellor.

A committee designated by the Chancellor shall summon the appellant as soon
as practicable, but in any event not later than one year from the date of the
receipt of the rating by the appellant.

The findings and recommendations of the committee shail be submitted to the
Chancellor for a final decision.

4.3.2 Appeals re Discontinuance of Probationary Service

Any person in the employ of the City School District who appears before the
Chancellor, or a committee designated by the Chancellor, concerning the
discontinuance of service during the probationary term, or at the expiration
thereof, shall have a review of the matter before a committee which shail be
designated in accordance with contractual agreements covering employees or by

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regulations of the Chancellor, as appropriate. After the review, the committee
shall forward its advisory recommendation to the community superintendent or to
the Chancellor in accordance with contractual agreements.

4.3.3 Committee Reviews

Any person who appears before a committee for the purpose of appealing a
rating or concerning the discontinuance or denial of completion of probationary
service or denial of certification or termination of a pedagogical license issued by
or on behalf of the City School District to a non-tenured employee shall receive
written notice of the time and place of the review, addressed either to the place of
employment or to the last known post office address, at least one week before
the date specified for said review. The notice shall inform the person that he or
she is entitled to appear in person, to be accompanied and advised by an
employee of the City School District or a representative of the union recognized
by the Panel for Educational Policy as the collective bargaining representative for
the employee, to be confronted by witnesses, if any, to call witnesses, to
examine exhibits and to introduce any relevant evidence.

if a witness who was summoned or requested to appear is unavailable or
unwilling to appear despite the best efforts of the committee, this shall not
prevent a review from continuing but shall be one of the factors considered by
the committee.

The advisor need not be an attorney. The attendance of such advisor and
witnesses, if employees of the City School District, shall not be deemed absence
from official duty, but such persons shall not absent themselves from school duty
except pursuant to such rules as the chancellor shall prescribe.

No employee of the City School District shall serve as an advisor or panel
member in more than two (2) matters in a school year nor request or accept
directly or indirectly any remuneration or other consideration for service as
adviser or witness.

A sound recording shall be kept of the proceedings and the person who is
appearing before the committee for the purpose of appealing a rating or
concerning the discontinuance or denial of completion of probationary service or
denial of certification shall be entitled to receive a duplicate of the sound
recording of the review, at cost, upon written request. In the event that the sound
recording equipment is not available or breaks down during the review, minutes
shall be taken of the proceedings and such minutes shall be available to the
person summoned at cost and upon reasonable written notice.

Nothing herein shall preclude witnesses from appearing at review proceedings by
teleconference or other technological means.

Employees who are not entitled to a review of a u-rating, who timely appeal the
decision to terminate their license or certificate, shall have the decision to

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terminate their licenses or certificates reviewed in accordance with the
procedures contained in Chancellor's Regulation C-31. Those procedures shall
be deemed to be incorporated herein, and witnesses may also appear by
teleconference or by other technological means.

Section 4.4 Retirement

Retirement of employees of the City School District shall be in accordance with
applicable provisions of laws and rules and regulations pertaining to the
retirement system of which such employee is a member. An employee of the City
School District shall submit to a medical examination by the medical board of the
retirement system of which he/she is a member when requested to do so,
pursuant to an application of the Chancellor in accordance with applicable law or
regulations pertaining to such retirement system after examination by and
recommendation of the medical division. Neglect, refusal or failure to submit to
such medical examination shall be deemed an act of insubordination.

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ARTICLE 5
Appeais

Section 5.1 Rules
All appeals to the Panel for Educational Policy shall be served on the person designated
by the Chancellor to receive such appeals. The Chancellor shall be authorized to
establish and publish appropriate rules for the processing of appeals.

ARTICLE 6

Contracts and Settlements

Section 6.1 Contracts

The Chancellor shall present contracts to the Panel for Educational Policy for its
approval in the following circumstances:

¢ where the contract is let by a procurement method other than competitive
sealed bidding pursuant to Education Law 2590-h;

* where the contract provides for technical, consultant or personal services;

e where the value of the contract exceeds or projects an annual expenditure
exceeding one million dollars; or

* where the value of a contract awarded to a single entity exceeds one million
dollars annually.

Section 6.2 Settlements

Prior to approving the settlement of litigation where the settlement would significantly
impact the provision of educational services or programming within the City School
District, the Chancellor shall present the proposed settlement to the Panel for
Educational Policy for its approval.

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3-6-14 SED# 23051 In the Matter of Ms. Morales
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THE STATE EDUCATION DEPARTMENT
THE UNIVERSITY OF THE STATE OF NEW YORK

In the Matter of
NEW YORK CITY DEPARTMENT OF EDUCATION
Vv.
BERTA MORALES
Section 3020-a Education Law Proceeding (File #23,051)

DATE: March 6, 2014

TIME: 11:00 a.m. to 2:00 p.m.

LOCATION: NYC Department of Education
Office of Legal Services
49-51 Chambers Street
New York, NY 10007

BEFORE: DONALD T. KINSELLA, ESQ.

HEARING OFFICER

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APPEARANCES: |
FOR THE COMPLAINANT: 2
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NYC Department of Education 4
Office of Legal Services 5
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FOR THE RESPONDENT: 9
DEBRA WABNIK, ESQ. 10
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(The hearing commenced at 11:00 a.m.)

THE HEARING OFFICER: Okay. This is the
matter of the Department of Education of the City of
New York versus Berta Morales, the Respondent. Could
I have the appearances for the record, please?

MS. A. HYUN RICH: A. Hyun Rich, A. H-Y-U-N,
last name, R-I-C-H, representing the Department of
Education for the City of New York. With me is Harlyn
Griffenberg, H-A-R-L-Y-N, last name, Griffenberg, G-R-
|-F-F-E-N-B-E-R-G, the Department's Disciplinary
Investigator.

MS. DEBRA WABNIK: Debra Wabnik, Stagg,
Terezi, Confusione & Wabnik, attomey for the
Respondent, Berta Morales.

MS. BETSY COMBIER: Betsy Combier, paralegal
for the Respondent.

MS. BERTA MORALES: Berta Morales, the
Respondent.

THE HEARING OFFICER: Good morning.

MS. WABNIK: Good moming.

THE HEARING OFFICER: Okay. We're here for
the preliminary conference on this matter. Could you
give us some idea of the status, Ms. Rich?

MS. RICH: Before we need to go to a

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preliminary, a pre-hearing conference, my
understanding is there is an outstanding Motion to
Dismiss filed by Respondent. So, we should address
that first.

THE HEARING OFFICER: Okay. We can address
that. You've submitted the, a motion--

MS. WABNIK: Yes.

THE HEARING OFFICER: --Ms. Wabnik.
Anything else to add to that?

MS. WABNIK: | haven't had any opposition,
$0...

THE HEARING OFFICER: Well, do you have
anything else to add advocating for the motion?

MS. WABNIK: Besides what's already in here?

THE HEARING OFFICER: Um-hm.

MS. WABNIK: No, not at this time. But not
having heard any opposition, I'm sure I would if had
opposition to it

THE HEARING OFFICER: Well, so you have
nothing to add to the paperwork is what you're say’ing,

MS. WABNIK: Not at this time, no.

THE HEARING OFFICER: Okay. Ms. Rich,
what's your response to the motion?

MS. RICH: Yes. So, going to start with

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Sheet 3

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some basic jurisprudence. And in the-going to start with
Federal Court and I know it's not applicable here, but
just by way of example, So, in the Federal Court system,
there are District Courts located throughout the country.
And if there's an adverse decision in the District Court,
there's an opportunity to appeal that decision to the
Circuit Courts and there are a certain number of Circuit
Courts of Appeals located in the United States. And then,
if there's an adverse decision in the Appellate Court,
whatever Circuit, you can appeal that to the Supreme Court
of the United States, located in Washington. Here, in New
York, just up the street from us, is the Southern District
of New York. That would be the District Court, And if
you had an adverse decision in the Southem District of
New York, you would appeal it to the Second Circutt, also
just right up the street from us. And then, that's when
you would go to Washington, to the Supreme Court. State
Court is similar, but they're called different things.
Here the trial level Court in New York State is Supreme
Court for the State of New York. Each county has its own.
Again, New York County's 1s located just up the street.
If you receive an adverse decision from the Supreme Court,
it's appealed to the Appellate Division. Appellate
Division actually is not located up the street. For the

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First Department, which includes New York County, that's
located up by the Flatiron District. And then, beyond
that, after the Appellate Division, if you have an adverse
decision, you go to the Court of Appeals. Now, when you
have mandatory arbitration, as you do in our case, there's
a certain procedure you need to follow. And 3020-a
states, Education Law Section 3020-a(5) states "Not later
than 10 days after receipt of the Hearing Officer's
decision, the employee or the employing Board may make an
application to the New York State Supreme Court to vacate
or modify the decision of the Hearing Officer pursuant to
Section 7511 of the Civil Practice Law and Rules." And
then, "Court's review shall be limited to the grounds set
forth in such section." So, CPLR 7511, vacating or
modifying an arbitrator award, "Grounds for vacating, (b)
The award shall be vacated on the application of a party
who either participated in the arbitrator or was served
with a notice of intention to arbitrate, if the Court
finds the right of that party were prejudiced by
comuption, fraud or misconduct in the procuring of the
award or partiality of an arbitrator appointed as a
neutral, except where the award was by confession of an
arbitrator or agency or person making the award exceeded
his powers or so imperfectly executed it that a final and

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definite award upon the subject matter submitted was not
made ot failure to follow the procedure of this Article,
unless the party applying to vacate the award continued
with the arbitrator with notice of the defect and without
opposition--objection.” So, we're clear on what the
appeal process is; State Court system in the State of New
York, Federal Court system in the United States. There is
not one case Respondent can cite to that supports her
argument that you, as the neutral in this case, have no
jurisdiction. Full stop. Not one case. There's not one
case in Federal Court, ever. Full stop. Not one case in
State Court supports Respondent's argument. Full stop.
Can you imagine what would happen to an attorney if they
brought a case to a District Court, where the Circuit
Court has already ruled on this decision? Can you imagine
what would happen in State Court, a lawyer brought a case,
in Supreme Court and the Appellate Division has already
ruled on that matter? So, let's take it a step back.
Here, we have an arbitration, where the State Supreme
Court has already ruled on this issue and has rejected
Respondent's argument, fully, completely and totally. And
you will not find one reference in Respondent's papers
that distinguish any of the cases that state that you, as
the Arbitrator, have jurisdiction over this case. Simply

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wishing that the law were applied differently does not
mean it's going to happen. And yet, that is what
Respondent is asking you to do, Real cases, with real
Westlaw citations and everything, give vou the case of
Malcolm Menchin, 2011 W.L. 276 4349, petitioner claims
that the probable cause finding was improper because it
was made by the principal of the school and not the
"emploving Board of Education in executive session.” The
Court finds that the Chancellor did have the authority to
issue the delegation, pursuant to Education Law Sections
2590-h(38) and (19). And it goes on to state that the
Court finds that Section 2590-h(19) of the Education Law
is very broad and has no such limits in its text. And
they're trying to say that ob, but the Chancellor's powers
is limited in the subsection. No, it's not. And let me
explain why. Because in 259-h(38), it's all about the
Chancellor's powers in New York City, okay. That's all it
does. That's all it addresses. Powers and duties of the
Chancellor. Chancellor has a power and duty to exercise
all the duties and responsibilities of the employing board
as set forth in Section 3020-a of this chapter with
respect to any member of the teaching or supervisory stait
of schools under the jurisdiction of the community and
district's education councils, The Chancellor shall

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exercise all such duties and responsibilities for all
community districts or may delegate the exercise of all
such duties and responsibilities to all of the community
superintendents of the city district. Malcolm Menchin,
Court rejected. The Court. Westlaw citation and
everything. This argument was rejected. The Chancellor
has the power to delegate his authority. Malcolm Menchin
isn't good enough, let me give you Soleyn, S-O-L-E-Y-N,
and Menchin is M-E-N-C-H-I-N. Again, talking about
employing board in executive session and argues that
because it's not, it's delegated to the principal, that
there's no authority. The Department maintains that due
process was not violated because -- then-Chancellor Joel
Klein delegated, pursuant to Education Law Section 2590-h,
the power to initiate and resolve disciplinary charges
against teaching and supervisory staff members who have
completed probation to all high school principals. The
delegation is attached as an exhibit. The Respondent, the
teacher, concedes, generally, that delegation 1s
permissible, but maintains because Education Law 3020-a
refers to the employing board in executive session and not
just the employing board, power to initiate charges cannot
be delegated. However, petitioner cites no cases to
support this argument. And Education Law 2590-h does not

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make this distinction. Pretty straightforward. No case
law. In amore recent case, we have Sheryl White-Grier,
W-H-1-T-E hyphen G-R-L-E-R. Petitioner presents many
arguments as fo why the award should be vacated and also
acknowledges that this Court is limited in its review
power. She argues that the arbitration proceeding was
based on a legal nullity and the arbitrator lacked subject
matter jurisdiction. She points out that under the
Education Law, charges brought against her were first to
have been presented to the City's Board of Education for a
final finding of probable cause as set forth in Education
Law Section 3020-a(2) or since she taught in the New York
City schools, charges should have been presented to the
community superintendent pursuant to Education Law Section
2590-h(38), providing that in New York City, the school’s
Chancellor may delegate the responsibility to his
superintendents, Here, however, the principal of her
school had, himself, issued the probable cause finding and
she argues this voided the safety feature embedded in the
Education Law that protects tenured employees by providing
that they will be brought up on charges only after a
neutral entity has found probable cause. This argument
was made to Hearing Officer Berg, who dismissed it. He
reasoned that the principal of the school would logically

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be the Department employee with enough knowledge to find
probable cause and the superintendent should be free to
rely on the principal's finding, He opined that nothing
suggests that because the legislator provides that a
Chancellor may, under Education Law Section 2590-h(38),
delegate any or all of the duties and responsibilities set
forth in Education Law Section 3020-a to the community
superintendents, that no other delegation of this duty 1s
allowed. Petitioner argues that a principal has no
statutory authority to sign the finding of probable cause
as this is a responsibility that rests with the Chancellor
in New York City or with superintendents. This argument
has been unsuccessfully presented to other trial level
Courts in recent years, And citing cases. Consistently,
the Courts have read these statutes to mean that a
district superintendent may delegate to a principal the
responsibility of preferring charges. This issue's been
settled. It's done. It's over. There ts not one case
Respondents can cite to that supports their argument. Not
one. The fact that they couldn't even manage to
distinguish the cases that have already been issued and
ate relied upon as good law in New York State 1s
objectionable on its face, because that's what lawyers do.
That's what a first-year law student is taught, that you

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respect the process. You respect the Court system. When
you disagree with an opinion, vou appeal it, And until
that opinion is reversed, it is good law. Again, can you
imagine what would happen if you went to Federal Court and
tried to argue something in District Court that had
already been decided by the Circuit Court of Appeal? Even
in New York State, even if vou'd brought a case a State
Supreme Court and it had already been decided by the
Appellate Division, what would happen? There is
absolutely no reason for you to reserve decision on this
issue. It's been determined by the State Supreme Court,
not in New York County, but the Menchin case 1s actually
in Rockland County. Not one case can support them.
That's why you need to deny this Motion to Dismiss and we
can move forward with the pre-hearing, Thank you.

THE HEARING OFFICER: Just one quick
question for you. The cases that vou cited, were they
proceedings that were brought after a full hearing or were
those cases where someone had--

MS. RICH: [Interposing] It was--

THE HEARING OFFICER: --sought a writ of
mandamus, in essence?

MS. RICH: It was after a full hearing was
brought.

3-6-14 SED# 23051 In the Matter of Ms. Morales
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3-6-14 SED# 23051 In the Matter of Ms. Morales

Sheet 5

BERTA MORALES - 03/06/14

THE HEARING OFFICER: Okay. Thank you.

MS. RICH: And] might further add that any
possible due process violation, this is not the forum.

THE HEARING OFFICER: Ms. Wabnik?

MS. WABNIK: Well, first of all, all the
cases that she's citing are, as she said, trial Court
cases, State Supreme cases. They are not binding on each
other and they're, at best, persuasive to each other.
This is not the equivalent of an Appellate Division having
made a decision and then, going into the Supreme Court and
asking for something completely different, as she said,
Second of all, not one of those cases deals with Education
Law 256--2566, which provides that the Chancellor does not
have the power to vote. There is an inherent discrepancy
between saying the Chancellor can delegate the power to
vote and the Chancellor doesn't have the power to vote.
The fact that there isn't a specific case law that
addresses this issue doesn't change the fact that the
statute, itself, provides that this cannot happen. So, we
would go then to basic statutory construction. We just
had a little, I'm not sure why, lesson in how the Court
system works. I'm not going to give you a lesson on
statutory construction, except to say that we, obviously,
don't allow a statute to be rendered completely worthless.

BERTA MORALES - 03/06/14

That's not the way it works. So, these cases have not
addressed this issue and do not reconcile the fact that
the Chancellor doesn't have the authority to vote.

THE HEARING OFFICER: Isn't 2566 about
Boards of Education in City school districts, other than
the City of New York?

MS. WABNIK: I don’t believe so, no.

THE HEARING OFFICER: Okay. Anything else?
I do have a question from your papers. You seem to talk
about mandamus. If] don’t have the authority to act, how
do I have the authority to rule that I don't have the
authority to act?

MS. WABNIK: Well, i's not even a question
of having any authority to rule. You shouldn't be going
forward in this particular case. We shouldn't even be
here. I mean, this whole explanation that we had about
how everybody delegates to everybody else, it doesn't
explain why, in the notice of determination, it say's that
ameeting was held in executive session on the above date
and the school district identified found that there was
probable cause. Nobody said this form had to be used.
The date of executive session is blank. Ifyou want to
say the principal decided, on his or her own, that these
charges were going to be preferred against vou pursuant to

Ubiqus Reporting, Inc.

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BERTA MORALES - 03/06/14
such and such a statute, then put it in here, Put it in
the notice because this notice is completely ineffective.
It'snot true. This didn't happen. So, to have us here,
based on notice of something that didn't even happen, 1s
inherently improper.

THE HEARING OFFICER: Okay. Well, this 1s a
form that's created by the State of New York, which is
generic or geared towards the entire state. The fact that
the form referred to a meeting and executive session,
obviously, refers to Boards of Education, however hundred
there are in New York State, that do follow this process.
Section 2590-h(38) of the Education Law very clearly
authorizes the Chancellor to act as the Board and also
authorizes, specifically with respect to 3020-a
proceedings, and authorizes--the Chancellor is authorized
to delegate duties.

MS. WABNIK: Assuming that to be true, then
the Chancellor--

THE HEARING OFFICER: {Interposing] Well, if
that's true--

MS. WABNIK: --still had to-

THE HEARING OFFICER: --then what is your
argument?

MS. WABNIK: It's the-

BERTA MORALES - 03/06/14

THE HEARING OFFICER: [Interposing] The
Chancellor's delegated the duties. It's a 3020-a
proceeding, There is no --. Everybody knows that. And
he's delegated the duties and the charges have been filed.

MS. WABNIK: The Chancellor didn't have the
authority to delegate the right to vote.

THE HEARING OFFICER: The Chancellor--

MS. WABNIK: [Interposing] He can't give
what he doesn't have.

THE HEARING OFFICER: The Chancellor has the
authority to act as the Board.

MS. WABNIK: Well then, the Chancellor--

THE HEARING OFFICER: It says.

MS. WABNIK: --should have had an executive
session, which had to be part of an open meeting,

THE HEARING OFFICER: Well, J assume that,
first of all, it wasn't the Chancellor, since obviously he
delegated it--

MS. WABNIK: [Interposing] Okay. Then the
principal--

THE HEARING OFFICER: ~but whoever the
person 1S--

MS. WABNIK: ~whoever the principal was--

THE HEARING OFFICER: -may well-

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Sheet 6

BERTA MORALES - 03/06/14

MS. WABNIK: --but this--

THE HEARING OFFICER: --have had an
executive meeting in their mind when they decided to bring
the charges.

MS. WABNIK: Well, that doesn't comply with-

THE HEARING OFFICER: But it's--

MS. WABNIK: --3020.

THE HEARING OFFICER: --its clear that
Section 2590-h of the Education Law contemplates that
charges of this nature in the City of New York are going
to be brought by a determination of the Chancellor or his
or her delegate. And that's what has occurred. So, your
motion is denied, And we can, on that basis, the case law
is interesting, but the statute is pretty specific. So,

let's proceed with the preliminary conference.

MS. RICH: Just one final matter of
housekeeping. I'm handing to you copies of the
delegations by Chancellor Wolcott, who was Chancellor at
the time these charges were preferred and the second page
is the delegation by the community superintendent to the
principals within that school district. Going forward to
the pre-hearing conference in this matter, at the same
time that the charges were served against Respondent, the

BERTA MORALES - 03/06/14
Respondent was also provided with a copy of the
Anticipatory Bill of Particulars. This document sets
forth the supporting materials that were used to come up
with the charges within the Specifications, as well as a
preliminary list of possible witnesses that will be called
by the Department. The Department has already provided
some documentation from Respondent's file, as it 1s
maintained at the school, to Respondent's attorney. The
Department is aware that its discovery obligations are
ongoing, And we'll also seek to determine whether 1s
additional documentation at the school that might be
maintained by the supervisors and administrators. The
Department does request reciprocal discovery at the
appropriate time, And at this time, I think that it would
be best to close out the pre-hearing with the exception of
determining dates.

MS. WABNIK: We actually have specific
discovery demands that we are serving today.

MS. RICH: Okay. Discovery demands are
supposed to be served five days in advance of the pre-
hearing conference. The Department will accept them, but
just wants to note for the record that there 1s a policy
and procedure with respect to discovery demands in cases
such as this. And it should have been served last week.

Ubiqus Reporting, Inc.

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BERTA MORALES - 03/06/14

THE HEARING OFFICER: Well, that's correct.
| appreciate that you've accepted it and obviously, you--I
don't know what's in the demands. You don’t know because
you haven't seen them. So, if there are remaining
discovery disputes, we can deal with that at the time that
we deal with scheduling the hearmg, Do you have anything
to add?

MS. WABNIK: No.

THE HEARING OFFICER: Okay. Well, the
hearing then will be adjourned, subject to scheduling the
actual hearing, This is several cases down my list, 1n
terms of trying to do the cases in chronological order to
when they were filed. And I'm not sure that we will reach
it by June. It's unlikely. But there are at least 10 or
12 cases ahead of this, I believe.

MS. RICH: Yes, | believe this is number
nine on your list.

THE HEARING OFFICER: Ob, nine. Okay. So,
well, we may reach it by June, You never know. But I
can't give you a date right now. So, we'll put this off
And again, if there are items that you believe you're not
being provided with, we can address that. And I'll
address it, despite the fact it should have been filed
last week, We'll address the substance of the issue.

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BERTA MORALES - 03/06/14
MS. WABNIK: Okay, appreciate that.
THE HEARING OFFICER: Anything further?
MS. RICH: Nothing further from the
Department.
THE HEARING OFFICER: Okay. Thank you.
We're going off.
(The hearing adjourned at 2:00 p.m.)

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CERTIFICATE
I, DeeDee E. Tataseo do hereby certify that the foregoing
typewritten transcript of proceedings in the matter of New
York City Department of Education v. Berta Morales, File
No. 23,051 was prepared using the required transcription
equipment and is a true and accurate record of the
proceedings.
Signature:
Date: March 13, 2014

3
Student Index

[None]

Ubiqus Reporting, Inc. 3-6-14 SED# 23051 In the Matter of Ms. Morales
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Corrected Notice and Agenda
August 14, 2013

Department of
Education

Dennis M. Walcott, Chancelior

PUBLIC MEETING OF THE PANEL FOR EDUCATIONAL
POLICY

Murry Bergtraum High School for Business Careers
411 Pearl Street
New York, NY 10038
Wednesday, August 21, 2013
6:00 PM

AGENDA
I. Executive Session
A. Executive Session regarding Matter Pertaining to Employee Discipline: Inquest on
Employee Termination [NOTE: This is closed to the public and will take place prior to
the 6:00PM public meeting start time. ]
II. Regular Public Meeting
A. Chancellor’s Update

B. Approval of Annual Estimate of the Total Sum of Money Available to Support DOE
Operations (see here)

The Panel will vote on the attached total sum of money necessary to support
DOE operations. Public comment on this item will take place before the Panel
votes.

C. Approval of Revised Formulas Used to Allocate Revenue Among Community School
Districts and Schools (see here)

The Panel will vote on the attached revised formulas used to allocate revenue
among community school districts and schools. Public comment on this item
will take place before the Panel votes.

D. Approval of Revised Chancellor’s Regulations (see here)

The Panel will vote on the attached amendments to Chancellor’s Regulations. Public
comment on items being considered by the Panel will take place before the Panel votes.
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E. Approval of Contracts (see here)

The Panel will vote on the attached list of contracts. Public comment on contracts being
considered by the Panel will take place before the Panel votes.

F. General Public Comment

Sion Up For Public Comment

Speaker sign-up for agenda items II.B through IJ.E will begin at 5:30PM at the door and
will close at 6:30PM Each speaker will be allowed two minutes to speak during the
public comment portions of the meeting.

Interpretation services will be provided in Spanish. American Sign Language will
be provided through reservation only: (212) 374-4946 or panel@schools.nyc.gov.

   

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Contact for agenda items: (212) 374-5472, 52 Chambers Street, New York, NY 10007
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF RICHMOND

 

X DCM PART3
In the Matter of the Application of

ROSALIE CARDINALE, Present:
Petitioner,
Hon. Desmond Green, J.S.C.
-against-
DECISION AND ORDER
THE NEW YORK CITY DEPARTMENT OF Index No. 85165/2017
EDUCATION

Respondent. Motion No. 3228-001
4596-002
x

 

The following papers numbered 1 to 6 were marked fully submitted on February 21, 2018:

Numbered
Notice of Petition and Verified Petition and Exhibits
(dated August 9, 2017)........:csccecceeceeeceecneeeeeteneeeeeneeneeeeeseren eens 1
Notice of Cross-Motion to Dismiss made by Respondent
(dated November 8, 2017)........:ccceeeee cee neeseeeee een eee eens ene cena ennes 2
Affidavit of Ms. Laura C. Williams (admission pending) in Support of
Respondent’s Cross-Motion to Dismiss with Exhibits Attached
(dated November 8, 2017) ......ceccceeeeeeeeneeeneeeeeee en eeeaeeeeeeee neers aeons 3
Memorandum of Law in Support of Respondent’s Cross-Motion to
Dismiss
(dated November 8, 2017) .........:cecescceeeeeeece eres eeen eee eeneresa eee eeee ess 4
Combined Affidavit and Memorandum of Law in Opposition
(dated November 29, 2017) .......cccseceeeeneeneer seen eee ssaeee eee en nen nena econ 5
Reply Affidavit of Ms. Laura C. Williams (admission pending) in Support
of Respondent’s Cross-Motion to Dismiss
(dated December 4, 2017) .......c.s:eceeeceeeneeeeeeeeece een neeneseeeeneneeeens aeons 6

 

Upon the foregoing papers, the Verified Petition (001) seeking the modification of the
Arbitrator’s Opinion and Award to, inter alia, restore Petitioner to her position within the

Department of Education is granted. This Court denies the cross-motion made by Respondent,

 
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Department of Education (hereinafter “DOE”) seeking the dismissal of Rosalie Cardinale’s

verified petition.
FACTS

The DOE employed Petitioner, Rosalie Cardinale as a special education teacher for 17
years. Petitioner spent the last 15 years of her employment with the DOE at Public School 55 The
Henry M. Boehm School (hereinafter “P.S. 55”). Cardinale received satisfactory observations up
to the 2013-2014 school year when the DOE adopted the Advance System which uses the
Danielson Framework for Teaching. The DOE issued Charges and Specifications (hereinafter
“Specifications”) pursuant to Education Law § 3020-a for misconduct during the school years
2013-2014, 2014-2015, 2015-2016, and 2016-2017 through Howard Friedman, General Counsel
to the Department of Education by Jessica Wolff-Fordham on February 27, 2017.! The caption
referenced Rosalie Cardinale, but the body of the Specifications detailed the DOE’s allegations
against “Jane Smith.”

The Specifications alleged Petitioner: 1) failed to properly, adequately, and/or effectively
plan and/or execute separate lessons, as observed by school administrators on thirteen observation
dates, 2) showed a lack of professionalism and poor judgment, 3) neglected her duties, and 4)
failed to implement directives and recommendations for improvement.

Petitioner’s counsel sought dismissal of the charges against Cardinale arguing the DOE

failed to abide by the statutory framework for the removal ofa tenured teacher for cause. Petitioner

 

1 The Introduction to the “Specifications” reads as follows: “The Board of Education of the
City of New York, also known as the New York City Department of Education, brings this action
pursuant to Education Law § 3020-a against Jane Smith for her failures in the nature of
incompetent and inefficient services, misconduct, neglect of duty, and unwillingness and/or
inability to follow procedures and carry out normal duties during the 2013-2014, 2014-2015, 2015-
2016, and 2016-2017 school years.” (emphasis added)

 
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argued the DOE failed to conduct an executive meeting of the employing board to find probable

cause to conduct a hearing before issuing the Specifications against Petitioner. Hearing Officer
Michael A. Lendino rejected Petitioner’s motion to dismiss the Section 3020-a Education Law
Proceeding. Hearing Office Lendino provided reasoning for his denial in the Opinion and Award
where he found the Board of Education Chancellor in the City School District of New York may
delegate the authority to conduct an executive meeting by the employing board on probable cause
to District Superintendents who may then delegate the same authority to local school principals.
Hearing Officer Lendino determined further, without citation to any evidence, that Chancellor
Carmen Farina delegated her authority to the District Superintendents who in turn delegated it to
local principals.’

This Court reviews a record which remains unclear concerning whether the local principal
or district superintendent determined probable cause existed justifying the allegations levied
against Petitioner to warrant an Education Law § 3020-a hearing. The record, however, makes
clear an Education Law § 3020-a proceeding took place on the following dates: April 25 and 26,
and May 18, 23, 24, and 31, 2017 before Hearing Officer Lendino.

Hearing Officer Lendino considered testimony given by Petitioner, Principal Sharon
Fishman (hereinafter “Fishman”), the principal of P.S. 55, and Assistant Principal Paul Giordano

(hereinafter “Giordano”), also from P.S. 55 when he rendered his Opinion and Award. The

 

2 HO Lendino cited Pina-Pena v. New York City Dept. of Educ., 2014 N.Y. Misc. LEXIS
1630, 2014 NY Slip Op 30893 (U), NY Sup. Ct., Apr. 9, 2014, to demonstrate the delegation of
authority from the Chancellor to subordinate employees. The facts of Pina-Pena, however,
concern a 3020-a Education Law Proceeding taking place in September and November 2012 under
former Chancellor Dennis Wolcott not Chancellor Carmen Farina.
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testimony given by Fishman and Giordano received additional support from ten informal
observation reports and three formal observation reports.

Hearing Officer Lendino issued an Opinion and Award on July 27, 2017. The Opinion and
Award contained the following findings relating to Specifications 1 and 4:

Specification 1: During the 2013-2014, 2014-2015, 2015-2016 and
2016-2017 school years, [Petitioner] failed to properly, adequately
and/or effectively plan and/or execute separate lesson[s] as observed
on or about each of the following dates:

April 10, 2014;

May 29, 2014;
November 10, 2014;
January 20, 2015
February 25, 2015;
May 18, 2015;
October 8, 2015;
May 11, 2016;

May 26, 2016;

June 1, 2016;
September 27, 2016;
. November 16, 2016; and/or
m. January 17, 2017

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Specification 4: [Petitioner] failed during the 2013-2014, 2014-
2015, 2015-2016 school years to fully and/or consistently
implement directives and/or recommendations for pedagogical
improvement and professional development provided in observation
conferences with administrators and/or outside observers;
instructional meetings; teacher improvement plans; one-on-one
meetings with administrators, school-based coaches, and/or outside
observers; as well as school-wide professional development with
regard to:

a. Proper planning, pacing, and/or execution of lessons;

 

3 The combined number of observation minutes over the four school years at issue yielded

362 minutes (6.03 hours) of observation. Of the total 362 minutes observed during four school
years, 110 minutes or 1 hour and 40 minutes came through formal observations. The observation
report indicates a formal observation involved either Fishman or Giordano observing a full class
period. The formal observation reports, however, indicate three different “full period” times of 30
minutes, 35 minutes, and 45 minutes. The formal observation reports also fail to document what
constitutes a “period” for students taught by Cardinale in kindergarten through second grade.
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b. Using appropriate methods and/or techniques during lessons;
Designing coherent instruction;

. Using assessment in instruction; and/or

Using appropriate questioning and discussion techniques.

one

Hearing Officer Lendino’s Opinion and Award found Cardinale’s dismissal from service
was an appropriate penalty.

Cardinale commenced this Article 75 proceeding challenging the Opinion and Award
dismissing her from service arguing, inter alia, significant procedural and substantive deficiencies
existed in the hearing process which interferes with the public policy concerning the protection of
teachers tenure. Petitioner argues the procedural violations require this Court to restore her status
as a DOE employee at P.S. 55.

The DOE cross-moves to dismiss Cardinale’s verified petition arguing that it fails to state
a cause of action and to confirm the arbitration award under CPLR § 7511(e).

DISCUSSION
L Petitioner Demonstrates Procedural Deficiencies Exist Requiring This Court to Vacate
The Arbitration Award for Violation of Strong Public Policy and the Opinion and
Award Was Irrational On Its Face

A court shall vacate an arbitration award when it finds either (1) corruption, fraud, or
misconduct, (2) the partiality of an arbitrator, or (3) an award which is made in excess of the
arbitrator’s enumerated powers prejudiced a party’s rights (see CPLR 7511 [b] {iJ-[iii], Master of
Meehan v. Nassau Community College, 242 AD2d 155, 157 (2d Dept 1998). Court of Appeals
case law provides an arbitration award may also be vacated where it is irrational or violative of

strong public policy (see, Town of Callicoon v. Civil Serv. Emples. Ass’n, Inc., 70 NY2d 907

[1987], Matter of United Fedn. Of Teachers, Local 2, AFT, AFL-CIO v Board of Educ. Of City

School Dist., of City of N.Y., 1 NY3d 72 [2003]).

 
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A. The Opinion and Award Stripping Petitioner of Tenure and Terminating Her

Employment Is Irrational

The Supreme Court of the United States held the Constitution does not create property
rights, “[r]Jather, they are created and their dimensions are defined by existing rules or
understandings that stem from an independent source such as state law-rules or understandings
that secure certain benefits and that support claims of entitlement to those benefits.” Board of
Regents v. Roth, 408 U.S. 564, 577 [1972]. New York State created the public school tenure
system guaranteeing continued employment to tenured teachers by statute and therefore created a
property right in a tenured teacher’s continued employment. (See Education Law §§§ 3012, 3012-
a, 3020, Holt v. Board of Educ. of Webutuck Cent. School Dist., 52 NY2d 625 [1981], Matter of
Abromvich v. Board of Educ. of Cent. School Dist. No. 1 of Towns of Brookhaven & Smithtown,
46 NY2d 450 [1979]). Where a property right in continued employment exists, such as New
York’s tenure system, the recipient of such a right may not be deprived without due process. See
Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 538 [1985].

New York State guarantees a tenured teacher’s due process rights to continued employment
by statute requiring that “no [tenured teacher] ... shall be disciplined or removed during a term of
employment except for just cause and in accordance with the procedures specified in section three
thousand twenty-a of this article or in accordance with alternate disciplinary procedures contained
in a collective bargaining agreement...” Education Law § 3020.

The statutory procedural process afforded to teachers with tenure under Education Law §
3020-a requires:

e The filing of charges “in writing and filed with the clerk or secretary
for the school district or employing board during the period between

the actual opening and closing of the school year for which the
employed is normally required to serve. Education Law § 3020-a(1)

 
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e “Within five days after receipt of charges, the employing board, in
executive session, shall determine, by a vote of a majority of all the
members of such board, whether probable cause exists to bring a
disciplinary proceeding against the employee pursuant to this
section.” Education Law § 3020-a(2).

e Where an employing board determines probable cause exists for
discipline the tenured teacher shall receive: “a written statement
specifying (i) the charges in detail, (ii) the maximum penalty which
will be imposed by the board if the employee does not request a
hearing or that will be sought by the board if the employee is found
guilty of the charges after a hearing and (iii) the employee’s rights
under this section, shall be immediately forwarded to the accused
employee....” Id.

Here, Petitioner’s counsel sought dismissal of the charges against Petitioner at the outset
of the hearing. Counsel argued before Hearing Officer Lendino, and now before this Court, that
the DOE’s failure to submit the charges against Petitioner to the employing board to determine
whether probable cause existed constitutes a procedure defect depriving Hearing Officer Lendino
of jurisdiction to consider the charges. Hearing Officer Lendino rejected Petitioner’s argument,
but this Court does not.

The argument raised by the DOE opposing Petitioner’s original motion before Hearing
Officer Lendino, and again before this Court, insisting the statutory framework does not require
probable cause determination by the employing board before an Education Law § 3020-a hearing

is unavailing. The DOE reasons the Chancellor wields the statutory power to “exercise all the

duties and responsibilities of the employing board... [and] shall exercise all such duties and

responsibilities for all community districts or may delegate the exercise of all such duties and

 
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responsibilities to all of the community superintendents...” Education Law § 2590-h[38].* In
turn, the community superintendents may delegate any powers and duties conferred upon them to
any subordinates, in this case, local principals. (See Education Law § 2590-f[1][b]). The DOE,
however, fails to provide this Court with evidence demonstrating the office of the Chancellor
delegated any of its duties and responsibilities to the community superintendents. Similarly, the
DOE fails to provide any evidence showing a delegation of duties and responsibilities from the
community superintendents to the local principals.

The cases cited by the DOE demonstrate a court’s analysis begins with considering
evidence indicating the office of the Chancellor transferred responsibilities and duties to
subordinate administrators. See Pina-Pena v. New York City Dept. of Educ., 2014 NY Slip Op
30893(U), Sup Ct. NY Cty, Apr. 9, 2014, (finding “the Chancellor [Wolcott] delegated the relevant
authority to the District Superintendent who, in turn, delegated her authority to local school
principals”); Matter of Haas v. New York City Bd/Dept. of Educ., 35 Misc3d 1207(A), Sup Ct.
NY Cty, Apr. 4, 2012 (finding “[o]n August 19, 2002, the chancellor [Klein] delegated ‘to the
community school district superintendents the authority to prefer charges against tenured
pedagogical employees pursuant to Education [Law] section 3020-1... On August 27, 2007 ... the
community superintendent of community school district 29...delegated to each principal of a
school within the district the power to ‘[i|nitiate and resolve charges against teaching ... staff
members in your school who have completed probation’); Matter of Roberts v. Department of
Educ. of the City of New York, 3 NYS3d 287, Sup Ct. NY Cty, Oct. 8, 2014 (finding “On April 19,

2011, Chancellor Dennis M. Walcott delegated...the power to initiate and resolve disciplinary

 

4 Education Law § 2590-h(19) provides additional authority allowing the Chancellor to
“[djelegate any of his or her powers and duties to such subordinate officers or employees as he or
she deems appropriate and to modify or rescind any power and duty so delegated.”
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charges against teaching and supervisory staff members to community school district
superintendents”). There exists no evidence in the record before this Court supporting the transfer
of any duties and responsibilities from the office of the Chancellor to any subordinate
administrator.”

Absent a demonstration by the DOE that the Office of the Chancellor delegated powers to
subordinate administrators to unilaterally commence a hearing under Education Law § 3020-a
Hearing Officer Lendino had any authority to consider the charges levied against Petitioner.
Hearing Officer Lendino conducted the Education Law § 3020-a hearing based on unproven
assumptions that the delegations of duties and responsibilities from the office of the Chancellor to
subordinate administrators occurred in compliance with the relevant statutory authority.

Indeed, Respondent fails to counter arguments raised in this Petition and provide evidence,
administrative rules, or executive orders, or similar pronouncement of the exercise of executive
authority, indicating Chancellor Farina delegated her duties and responsibilities to subordinate
administrators. Notwithstanding the low standard needed to demonstrate the rationality of an
Opinion and Award, the fact that the Hearing Officer failed to consider a basic jurisdictional
predicate before conducting the hearing renders the entire decision irrational because his authority
to conduct the hearing is suspect.

B. The Opinion and Award Violates New York’s Strong Public Policy Protecting
Teacher’s Tenure

The Court of Appeals speaking on the necessity of teacher’s tenure stated:

 

5 This Court also notes that while the office of the Chancellor may exercise the power of the
employing board and delegate the same to subordinate administration officials, it does not appear
obligatory. See Matter of Norgrove y. Board of Educ. of City School Dist. of City of N.Y., 23
Misc3d 684, Sup. Ct. NY Cty., Jan. 13, 2009 [finding in 2007 the Board of Education and not the
office of the Chancellor, or its designee, issued a “Notice of Determination of Probable Causes on
Charges Brought Against Tenured School District Employee” ]
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[tenure] is a legislative expression of a firm public policy

determination that the interests of the public in the education of our

youth can best be served by a system designed to foster academic

freedom in our schools and to protect competent teachers from the

abuses they might be subjected to if they could be dismissed at the

whim of their supervisors. In order to effectuate these convergent

purposes, it is necessary to construe the tenure system broadly in

favor of the teacher, and to strictly police procedures which

might result in the corruption of that system by the manipulation

of the requirements for tenure...
Ricca v. Board of Education, 47 NY2d 385, 391 (1979) (emphasis added). This Court reasons the
same strict policing applied to the procedure granting tenure to teachers apply equally to the
procedures applied when a school district seeks the removal of a teacher’s tenure. (See Holt v.
Board of Ed. of Webutuck Central School Dist., 52 NY2d 625, 632 [1981] [finding “[t]he purpose
of the statute [Education Law § 3020-a] is to protect teachers from arbitrary imposition of formal
discipline”])

Petitioner argues, correctly, the Education Law requires a finding “whether probable cause
exists to bring a disciplinary proceeding against an employee” (Education Law § 3020-a[2)).
There exists no statutory language indicating the statutes permitting the delegation of duties and
responsibilities from the employing board to the office of the Chancellor eliminated the
precondition of a finding of “probable cause” before subjecting a tenured teacher to the disciplinary
hearing anticipated under Education Law § 3020-a. Indeed if the DOE properly demonstrated the
office of the Chancellor delegated its duties and responsibilities to subordinate administrators,
there exists no evidence showing a determination that probable cause existed supporting the
allegations against Petitioner.
The DOE’s failure to make a finding of probable cause and adhere to the procedural

protections guaranteed to Petitioner in Education Law § 3020-a violates Petitioner’s due process

rights and violates New York’s strong public policy protecting the integrity of the tenure system.

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The hearing conducted before Hearing Officer Lendino, therefore, is a nullity. (See Sanders v.
Board of Educ. of City School Dist. of City of New York, 17 AD3d 682 [2d Dept 2005], Morgan v.
Board of Educ. of City of New York, 201 AD2d 482 [2d Dept 1994]).

CONCLUSION

Petitioner demonstrates the Opinion and Award rendered by Hearing Officer Lendino was
both irrational and violative of New York’s strong public policy protecting the property rights of
tenured teachers. The DOE may not abridge the due process protections afforded to tenured
teachers for any reason. The DOE’s analysis of the law, undeniably, dispenses with the various
layers of checks and balances protecting a tenured teacher’s Constitutionally protected property
right in continued employment and places the decision concerning whether a disciplinary hearing
is necessary into the hands of a single administrator. The DOE’s suggested framework ignores the
various levels of administrative oversight put in place by the legislature to protect tenured teachers.
This Court finds such a construction suspect on its face. The DOE, however, failed completely to
present evidence or other controlling authority indicating the statutory delegation of duties and
responsibilities from the office of the Chancellor to subordinate administrators occurred.

This Court finds the DOE’s interpretation of the statutory framework, even had they
presented evidence permitting such delegations, runs afoul of the clear legislative intent. The
concentration of all disciplinary authority into the hands of a single local administrator creates the
very “arbitrary imposition of formal discipline” the legislature sought to prevent when it enacted
Education Law § 3020-a (Holt v. Board of Ed. of Webutuck Central School Dist., 52 NY2d 625,
632 [1981]).

This Court finds the DOE’s interpretation of the statutory framework, even had they

presented evidence permitting such delegations, runs afoul of the clear legislative intent contained

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in Education Law § 3020-a requiring different levels of the education administration apparatus to
take part in the decision to discipline a tenured teacher. New York State public policy requires
strict compliance with the procedural safeguards afforded to tenured teachers. The DOE’s failure
to conduct a probable cause analysis deprived Petitioner of her due process rights, thus violating
New York’s strongly held policy supporting the tenure system.

Accordingly, it is hereby:

ORDERED, that Rosalie Cardinale’s Petition is granted in its entirety; it is further

ORDERED, that the Award and Opinion dated July 27, 2017 is vacated; it is further

ORDERED, that Rosalie Cardinale shall be reinstated effective immediately and entitled
to full back pay from the date of termination; it is further

ORDERED, that Respondent’s cross-motion is denied in its entirety; and it is further

ORDERED, that Petitioner shall settle judgment.

ENTER,

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Hon. Desmond Green, J.S.C.

DATED: Marcha], 2018

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